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                        EXHIBIT A
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                                                                                                                                                            8,185 $        26,723,966.62
PatientID          IncidentDate   ClaimId           AttorneyID         AttorneyFirstName     AttorneyLastName   BillId           PaidDate     BillCost              BillGFB
              92   2015-02-05                 274                337   Bryce                 Angell                        536   2015-05-12                    480                   1000
              92   2015-02-05                 274                337   Bryce                 Angell                        537   2015-06-26                260.832                    600
              92   2015-02-05                 274                337   Bryce                 Angell                        538   2015-06-26               5809.248                  19470
              92   2015-02-05                 274                337   Bryce                 Angell                        684   2015-09-11               19160.16                  39917
              92   2015-02-05                 274                337   Bryce                 Angell                        687   2015-09-11                 69.624                    212
              95   2014-12-11                 175                268   Campbell              Williamson                   2104   2016-06-24                  249.6                    208
             543   2020-05-18               19277                951   Fariba                Bayani                      24560   2020-08-13                   1560                   4595
             543   2020-05-18               19277                951   Fariba                Bayani                      25472   2020-10-21                    780                   2225
            1078   2017-05-18                1900                463   Ronald                Chalker                     31300   2021-05-19                287.196                 598.32
            1078   2017-05-18                1900                463   Ronald                Chalker                     31674   2021-06-09               13321.88              26912.88
            1078   2017-05-18                1900                463   Ronald                Chalker                     32500   2021-07-29              -13321.88             -26912.88
            1132   2015-03-10                2009                330   Daniel                Del Rio                      3865   2017-06-15                309.708                 516.18
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7183   2017-02-22                111.504                 185.84
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7189   2017-03-31                 77.436                 129.06
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7179   2017-02-22                 60.792                 101.32
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7170   2017-02-22                 119.82                  199.7
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7178   2017-02-22                 66.744                 111.24
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7182   2017-02-22                 60.792                 101.32
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7174   2017-02-22                 86.148                 143.58
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7184   2017-02-22                 65.556                 109.26
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7187   2017-02-22                  172.5                  287.5
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7185   2017-02-22                 62.784                 104.64
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7169   2017-02-22                 60.396                 100.66
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7177   2017-02-22                596.736                 994.56
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7180   2017-02-22                 88.128                 146.88
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7175   2017-02-22                 86.544                 144.24
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7168   2017-02-22                107.544                 179.24
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7176   2017-02-22                 72.288                 120.48
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7186   2017-02-22                 61.188                 101.98
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7188   2017-03-21                 65.556                 109.26
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7172   2017-02-22                  63.18                  105.3
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7181   2017-02-22                 60.396                 100.66
            1143   2015-03-08                4046                330   Daniel                Del Rio                      7190   2017-03-31                115.464                 192.44
            1143   2015-03-08                2270                330   Daniel                Del Rio                      6027   2017-10-12                    55.8                    93
            1143   2015-03-08                2683                330   Daniel                Del Rio                      6026   2018-02-07                    33.9                  56.5
            1143   2015-03-08                2683                330   Daniel                Del Rio                      6562   2018-01-10                    63.6                   106
            1152   2017-05-23                4415                227   Neal                  Howard                       8405   2018-10-29                242.604                 303.26
            1152   2017-05-23                4415                227   Neal                  Howard                       8546   2018-10-29                    12.6                 15.75
            1152   2017-05-23                4415                227   Neal                  Howard                       8483   2018-10-29                232.452                 290.57
            1152   2017-05-23                4415                227   Neal                  Howard                       8376   2018-10-29                130.596                 163.25
            1152   2017-05-23                4415                227   Neal                  Howard                       8493   2018-10-29                  81.78                 102.23
            1152   2017-05-23                4528                227   Neal                  Howard                       8684   2018-10-29                     30                     25
            1152   2017-05-23                4528                227   Neal                  Howard                       8611   2018-12-07                    50.7                 63.38
            1152   2017-05-23                4528                227   Neal                  Howard                       9034   2018-12-07                    55.8                 69.75
            1152   2017-05-23                4528                227   Neal                  Howard                       8675   2018-10-29                    31.2                    39
            1206   2017-06-14                2159                 43   Jonathan              Wade                        27587   2020-11-16                  18000              34887.48
            1242   2017-06-23                2230                261   John                  Leslie                      32406   2021-07-30                322.704                  597.6
            1242   2017-06-23                2230                261   John                  Leslie                      32407   2021-07-30                484.056                  896.4
            1251   2017-04-11                3938                330   Daniel                Del Rio                      7121   2017-09-13                    68.4                   114
            1251   2017-04-11                3938                330   Daniel                Del Rio                      7122   2017-09-13                  58.32                   97.2
            1251   2017-04-11                3938                330   Daniel                Del Rio                      7120   2017-09-13                 120.78                  201.3
            1251   2017-04-11                3938                330   Daniel                Del Rio                      7008   2017-10-12                    48.6                    81
            1251   2017-04-11                3938                330   Daniel                Del Rio                      7123   2017-09-13                 93.024                 155.04
            1252   2014-11-13                2288                330   Daniel                Del Rio                      6281   2017-07-17                  90.72                  151.2
            1252   2014-11-13                2288                330   Daniel                Del Rio                      6285   2017-07-17                 270.72                  451.2
            1252   2014-11-13                2288                330   Daniel                Del Rio                      6283   2017-07-17                  90.24                  150.4
            1252   2014-11-13                2288                330   Daniel                Del Rio                      6310   2017-12-10                126.816                 211.36
            1252   2014-11-13                2288                330   Daniel                Del Rio                      6278   2017-07-17                 164.64                  274.4
            1252   2014-11-13                2288                330   Daniel                Del Rio                      6280   2017-07-17                  160.8                    268
            1252   2014-11-13                2288                330   Daniel                Del Rio                      6293   2017-09-13                  105.6                    176
            1252   2014-11-13                2288                330   Daniel                Del Rio                      6335   2017-12-10                126.816                 211.36
            1252   2014-11-13                2288                330   Daniel                Del Rio                      6277   2017-07-17                  81.12                  135.2
            1252   2014-11-13                2288                330   Daniel                Del Rio                      6276   2017-07-17                 123.84                  206.4
            1252   2014-11-13                2288                330   Daniel                Del Rio                      6279   2017-07-17                  78.72                  131.2
            1252   2014-11-13                2288                330   Daniel                Del Rio                      6274   2017-07-17                 104.64                  174.4
            1252   2014-11-13                2288                330   Daniel                Del Rio                      6284   2017-07-17                    79.2                   132
            1252   2014-11-13                2288                330   Daniel                Del Rio                      6282   2017-07-17                  103.2                    172
            1252   2014-11-13                2288                330   Daniel                Del Rio                      6273   2017-07-17                  80.64                  134.4
            1253   2017-02-08                3937                330   Daniel                Del Rio                      6963   2017-12-10                    79.5                 132.5
            1253   2017-02-08                3937                330   Daniel                Del Rio                      6964   2017-12-10                    58.5                  97.5
            1254   2015-01-30                2738                330   Daniel                Del Rio                      6355   2018-03-01                  66.24                  110.4
            1254   2015-01-30                2738                330   Daniel                Del Rio                      6286   2017-08-13                 119.52                  199.2
            1254   2015-01-30                2738                330   Daniel                Del Rio                      6290   2017-08-13                 163.68                  272.8
            1254   2015-01-30                2738                330   Daniel                Del Rio                      6336   2017-12-22                  73.44                  122.4
            1254   2015-01-30                2738                330   Daniel                Del Rio                      6404   2018-04-05                217.752                 362.92
            1254   2015-01-30                2738                330   Daniel                Del Rio                      6292   2017-08-13                 138.24                  230.4
            1254   2015-01-30                2738                330   Daniel                Del Rio                      6337   2017-12-22                 141.12                  235.2
            1254   2015-01-30                2738                330   Daniel                Del Rio                      6288   2017-08-13                 127.68                  212.8
            1254   2015-01-30                2738                330   Daniel                Del Rio                      6289   2017-08-13                 131.52                  219.2
            1254   2015-01-30                2738                330   Daniel                Del Rio                      6287   2017-08-13                  129.6                    216
            1254   2015-01-30                2738                330   Daniel                Del Rio                      6291   2017-08-13                  127.2                    212
            1254   2015-01-30                2738                330   Daniel                Del Rio                      6338   2017-12-22                  77.28                  128.8
            1254   2015-01-30                2738                330   Daniel                Del Rio                      6340   2018-01-10                    70.8                   118
            1255   2017-02-08                3962                330   Daniel                Del Rio                      7023   2017-10-12                    69.3                 115.5
            1256   2017-02-18                3969                330   Daniel                Del Rio                      7058   2017-08-13                    79.5                 132.5
            1256   2017-02-18                3969                330   Daniel                Del Rio                      7059   2017-08-13                    56.4                    94
            1257   2017-02-18                3973                330   Daniel                Del Rio                      7061   2017-08-13                    61.5                 102.5
            1257   2017-02-18                3973                330   Daniel                Del Rio                      7062   2017-08-13                     63                    105
            1268   2017-08-05                2284                330   Daniel                Del Rio                      7012   2017-09-13                    61.2                   102
            1268   2017-08-05                2284                330   Daniel                Del Rio                      7009   2017-10-12                    48.9                  81.5
            1268   2017-08-05                2284                330   Daniel                Del Rio                      7010   2017-09-13                    49.5                  82.5




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                                                                               Tecumseh Owned Receivables




                                                                                                                                                        8,185 $       26,723,966.62
PatientID          IncidentDate   ClaimId          AttorneyID         AttorneyFirstName     AttorneyLastName   BillId           PaidDate     BillCost          BillGFB
            1268   2017-08-05               2284                330   Daniel                Del Rio                      7011   2017-09-13                62.7                 104.5
            1269   2017-08-05               2285                330   Daniel                Del Rio                      7014   2017-10-12                48.6                    81
            1269   2017-08-05               2285                330   Daniel                Del Rio                      6024   2017-10-12                  60                  100
            1269   2017-08-05               2285                330   Daniel                Del Rio                      7013   2017-09-13                48.9                  81.5
            1283   2017-05-10               2311                330   Daniel                Del Rio                      7005   2018-04-11                12.6                    21
            1283   2017-05-10               2311                330   Daniel                Del Rio                      6966   2017-11-15                54.6                    91
            1283   2017-05-10               2311                330   Daniel                Del Rio                      6965   2017-11-15                65.7                 109.5
            1283   2017-05-10               2311                330   Daniel                Del Rio                      7004   2017-10-31                89.7                 149.5
            1283   2017-05-10               2549                330   Daniel                Del Rio                      6630   2018-01-10                86.4                  144
            1283   2017-05-10               2549                330   Daniel                Del Rio                      6878   2017-12-22                79.5                 132.5
            1283   2017-05-10               2549                330   Daniel                Del Rio                      6576   2018-01-10                  30                    50
            1285   2017-07-11               2313                330   Daniel                Del Rio                      6982   2017-10-12                70.2                  117
            1285   2017-07-11               2313                330   Daniel                Del Rio                      6981   2017-10-12                62.4                  104
            1285   2017-07-11               2313                330   Daniel                Del Rio                      6983   2017-11-15                54.6                    91
            1286   2017-07-11               2314                330   Daniel                Del Rio                      7036   2017-10-12                70.2                  117
            1286   2017-07-11               2314                330   Daniel                Del Rio                      7035   2017-10-12                59.4                    99
            1286   2017-07-11               2314                330   Daniel                Del Rio                      6984   2017-11-15                54.6                    91
            1294   2017-06-08               2408                330   Daniel                Del Rio                      7003   2017-10-31               145.2                  242
            1294   2017-06-08               2408                330   Daniel                Del Rio                      6953   2017-12-10                56.4                    94
            1296   2011-10-28               2327                330   Daniel                Del Rio                      7006   2017-10-31                30.3                  50.5
            1296   2011-10-28               2327                330   Daniel                Del Rio                      7007   2017-10-31                30.3                  50.5
            1296   2011-10-28               2724                330   Daniel                Del Rio                      6646   2018-02-07                48.3                  80.5
            1322   2017-08-01               2376                330   Daniel                Del Rio                      6833   2017-12-22                30.6                    51
            1322   2017-08-01               2376                330   Daniel                Del Rio                      7039   2018-04-11                50.1                  83.5
            1322   2017-08-01               2376                330   Daniel                Del Rio                      6977   2017-11-15                73.5                 122.5
            1322   2017-08-01               2376                330   Daniel                Del Rio                      6779   2018-03-01                51.9                  86.5
            1322   2017-08-01               2376                330   Daniel                Del Rio                      6832   2017-12-22               118.8                  198
            1322   2017-08-01               2376                330   Daniel                Del Rio                      6880   2017-12-22                54.6                    91
            1322   2017-08-01               2376                330   Daniel                Del Rio                      6567   2018-01-10                71.1                 118.5
            1322   2017-08-01               2376                330   Daniel                Del Rio                      6879   2017-11-15                70.8                  118
            1326   2017-09-07               2383                330   Daniel                Del Rio                      6971   2017-11-15                  66                  110
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6652   2018-02-07                  48                    80
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6775   2018-03-01                94.2                  157
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6764   2018-03-01               132.6                  221
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6767   2018-03-01               91.62                 152.7
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6672   2018-02-07                  30                    50
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6676   2018-02-07                  30                    50
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6776   2018-03-01                91.8                  153
            1332   2011-10-28               2392                330   Daniel                Del Rio                      7038   2018-04-11               132.3                 220.5
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6765   2018-03-01               137.7                 229.5
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6766   2018-03-01                 135                  225
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6910   2017-12-10                66.6                  111
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6973   2017-11-15                32.7                  54.5
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6763   2018-03-01               132.3                 220.5
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6774   2018-03-01               133.5                 222.5
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6906   2017-12-10                30.9                  51.5
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6651   2018-02-07                  30                    50
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6743   2018-03-01               134.7                 224.5
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6768   2018-03-01               150.9                 251.5
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6772   2018-03-01               136.8                  228
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6909   2017-12-10                48.6                    81
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6699   2018-03-01              175.02                 291.7
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6975   2017-11-15                30.3                  50.5
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6911   2017-12-10                30.3                  50.5
            1332   2011-10-28               2392                330   Daniel                Del Rio                      7037   2018-04-11               133.5                 222.5
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6769   2018-03-01               132.9                 221.5
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6698   2018-03-01               133.5                 222.5
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6974   2017-11-15                33.6                    56
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6777   2018-03-01               134.4                  224
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6976   2018-04-11               139.5                 232.5
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6673   2018-02-07                  30                    50
            1332   2011-10-28               2392                330   Daniel                Del Rio                      6908   2017-12-10                31.5                  52.5
            1336   2017-08-26               2399                330   Daniel                Del Rio                      6941   2017-11-15                50.1                  83.5
            1336   2017-08-26               2399                330   Daniel                Del Rio                      6061   2017-12-10               68.52                 114.2
            1342   2017-09-05               2407                330   Daniel                Del Rio                      6912   2017-12-10                32.4                    54
            1342   2017-09-05               2407                330   Daniel                Del Rio                      6631   2018-01-10                49.5                  82.5
            1342   2017-09-05               3473                330   Daniel                Del Rio                      6915   2017-12-10                52.2                    87
            1342   2017-09-05               3473                330   Daniel                Del Rio                      7043   2018-05-06                30.9                  51.5
            1342   2017-09-05               3473                330   Daniel                Del Rio                      6834   2017-12-22                30.9                  51.5
            1342   2017-09-05               3473                330   Daniel                Del Rio                      6914   2017-12-10               110.4                  184
            1342   2017-09-05               3473                330   Daniel                Del Rio                      7044   2018-04-11                51.6                    86
            1342   2017-09-05               3473                330   Daniel                Del Rio                      6916   2017-12-10                48.6                    81
            1342   2017-09-05               3473                330   Daniel                Del Rio                      6913   2017-12-10                51.3                  85.5
            1373   2017-03-07               2468                330   Daniel                Del Rio                      6940   2017-12-10                87.6                  146
            1381   2017-08-26               2482                330   Daniel                Del Rio                      6950   2017-12-10                60.9                 101.5
            1381   2017-08-26               2482                330   Daniel                Del Rio                      6019   2017-12-10                49.8                    83
            1382   2017-07-16               2483                330   Daniel                Del Rio                      6900   2017-12-10                71.4                  119
            1382   2017-07-16               2483                330   Daniel                Del Rio                      6017   2017-12-10                58.8                    98
            1382   2017-07-06               2849                330   Daniel                Del Rio                      6014   2018-02-07                32.4                    54
            1382   2017-07-06               2849                330   Daniel                Del Rio                      6778   2018-03-01                54.6                    91
            1399   2017-09-12               2517                 80   Dorian                Murry                       19676   2020-05-29               184.8                  385
            1423   2017-10-13               2568                330   Daniel                Del Rio                      6060   2017-12-10                58.2                    97
            1423   2017-10-13               2573                330   Daniel                Del Rio                      6059   2017-12-22                37.8                    63
            1428   2017-05-22               2572                330   Daniel                Del Rio                      6844   2017-12-22                49.5                  82.5
            1428   2017-05-22               2572                330   Daniel                Del Rio                      6956   2017-12-10                56.7                  94.5
            1428   2017-05-22               2572                330   Daniel                Del Rio                      5981   2017-12-22                49.8                    83
            1428   2017-05-22               2572                330   Daniel                Del Rio                      6958   2017-12-10                48.9                  81.5
            1468   2017-06-04               2652                330   Daniel                Del Rio                      6848   2017-12-22                63.3                 105.5
            1468   2017-06-04               2860                330   Daniel                Del Rio                      6568   2018-01-10                  69                  115
            1468   2017-06-04               2860                330   Daniel                Del Rio                      6792   2018-03-01               53.52                  89.2
            1468   2017-06-04               2860                330   Daniel                Del Rio                      6649   2018-02-07                98.4                  164




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                                                                               Tecumseh Owned Receivables




                                                                                                                                                         8,185 $       26,723,966.62
PatientID          IncidentDate   ClaimId          AttorneyID         AttorneyFirstName     AttorneyLastName   BillId           PaidDate     BillCost           BillGFB
            1469   2017-07-27               2653                330   Daniel                Del Rio                      6058   2017-12-10                   54                    90
            1474   2014-02-20               2660                330   Daniel                Del Rio                      6138   2018-02-07              100.404                167.34
            1474   2014-02-20               3181                330   Daniel                Del Rio                      6137   2018-02-07               72.792                121.32
            1474   2014-02-20               3751                330   Daniel                Del Rio                      6140   2018-02-07               71.892                119.82
            1475   2015-09-10               2693                330   Daniel                Del Rio                      6532   2017-11-15              102.828                171.38
            1475   2015-09-10               2693                330   Daniel                Del Rio                      6530   2017-11-15              145.692                242.82
            1475   2015-09-10               2693                330   Daniel                Del Rio                      6541   2017-12-10              232.836                388.06
            1475   2015-09-10               2693                330   Daniel                Del Rio                      6538   2017-11-15              129.204                215.34
            1475   2015-09-10               2693                330   Daniel                Del Rio                      6539   2017-11-15              104.472                174.12
            1475   2015-09-10               2693                330   Daniel                Del Rio                      6542   2017-12-10                 92.4                   154
            1482   2013-10-02               2680                330   Daniel                Del Rio                      6345   2018-02-07               126.24                 210.4
            1482   2013-10-02               2680                330   Daniel                Del Rio                      6344   2018-02-07                97.44                 162.4
            1482   2013-10-02               2680                330   Daniel                Del Rio                      6347   2018-02-07                82.56                 137.6
            1482   2013-10-02               2680                330   Daniel                Del Rio                      6307   2017-12-10                77.76                 129.6
            1482   2013-10-02               2680                330   Daniel                Del Rio                      6346   2018-02-07               311.04                 518.4
            1482   2013-10-02               2680                330   Daniel                Del Rio                      6311   2017-12-22                 91.2                   152
            1482   2013-10-02               2680                330   Daniel                Del Rio                      6349   2018-02-07               198.72                 331.2
            1482   2013-10-02               2680                330   Daniel                Del Rio                      6343   2018-02-07                95.04                 158.4
            1482   2013-10-02               2680                330   Daniel                Del Rio                      6348   2018-02-07                82.56                 137.6
            1482   2013-10-02               2680                330   Daniel                Del Rio                      6309   2017-12-10                78.24                 130.4
            1483   2015-11-14               2677                330   Daniel                Del Rio                      6269   2017-12-10               65.556                109.26
            1483   2015-11-14               2677                330   Daniel                Del Rio                      6272   2017-12-10               60.792                101.32
            1483   2015-11-14               2677                330   Daniel                Del Rio                      6267   2017-12-10               97.632                162.72
            1506   2017-04-06               2725                330   Daniel                Del Rio                      6827   2017-12-22                50.82                  84.7
            1506   2017-04-06               2725                330   Daniel                Del Rio                      6841   2017-12-22                168.6                   281
            1506   2017-04-06               2725                330   Daniel                Del Rio                      6826   2017-12-22                110.4                   184
            1506   2017-04-06               2725                330   Daniel                Del Rio                      6828   2017-12-22                   48                    80
            1506   2017-04-06               2725                330   Daniel                Del Rio                      6830   2017-12-22                   30                    50
            1506   2017-04-06               2725                330   Daniel                Del Rio                      6840   2017-12-22                 89.1                 148.5
            1506   2017-04-06               2725                330   Daniel                Del Rio                      6020   2017-12-22                 48.3                  80.5
            1541   2015-09-30               2793                330   Daniel                Del Rio                      6837   2017-12-22                 52.2                    87
            1541   2015-09-30               2793                330   Daniel                Del Rio                      6847   2017-12-22                 30.9                  51.5
            1541   2015-09-30               2793                330   Daniel                Del Rio                      6838   2017-12-22                 89.1                 148.5
            1541   2015-09-30               2793                330   Daniel                Del Rio                      6845   2017-12-22                 63.6                   106
            1541   2015-09-30               2793                330   Daniel                Del Rio                      6846   2017-12-22                86.34                 143.9
            1541   2015-09-30               2793                330   Daniel                Del Rio                      6839   2017-12-22                 74.1                 123.5
            1541   2015-09-30               2793                330   Daniel                Del Rio                      6836   2017-12-22                 51.6                    86
            1541   2015-09-30               2793                330   Daniel                Del Rio                      6835   2017-12-22                234.6                   391
            1541   2015-09-30               2793                330   Daniel                Del Rio                      6677   2018-02-07                   48                    80
            1541   2015-09-30               2793                330   Daniel                Del Rio                      6678   2018-02-07                   30                    50
            1594   2017-10-24               2895                330   Daniel                Del Rio                      6156   2018-02-07                 70.2                   117
            1594   2017-10-24               2895                330   Daniel                Del Rio                      6155   2018-01-10                 61.8                   103
            1594   2017-10-24               2895                330   Daniel                Del Rio                      7052   2018-04-11                 54.6                    91
            1617   2015-12-30               2939                330   Daniel                Del Rio                      6342   2018-02-07                   96                   160
            1617   2015-12-30               2939                330   Daniel                Del Rio                      6352   2018-02-07                 79.2                   132
            1617   2015-12-30               2939                330   Daniel                Del Rio                      6354   2018-03-01                94.56                 157.6
            1617   2015-12-30               2939                330   Daniel                Del Rio                      6350   2018-02-07                  108                   180
            1617   2015-12-30               2939                330   Daniel                Del Rio                      6353   2018-02-07                80.64                 134.4
            1617   2015-12-30               2939                330   Daniel                Del Rio                      6351   2018-02-07                78.24                 130.4
            1617   2015-12-30               2939                330   Daniel                Del Rio                      6341   2018-01-10                77.76                 129.6
            1725   2017-12-16               3149                330   Daniel                Del Rio                      6780   2018-03-01                 77.7                 129.5
            1725   2017-12-16               3149                330   Daniel                Del Rio                      7042   2018-04-11                 30.3                  50.5
            1725   2017-12-16               3149                330   Daniel                Del Rio                      7041   2018-04-11                 54.6                    91
            1725   2017-12-16               3149                330   Daniel                Del Rio                      6636   2018-02-07                 63.6                   106
            1725   2017-12-16               3149                330   Daniel                Del Rio                      7040   2018-05-06                   48                    80
            1726   2017-11-05               3150                330   Daniel                Del Rio                      6063   2018-02-07                 90.6                   151
            1840   2017-12-01               3367                330   Daniel                Del Rio                      6789   2018-03-01                51.54                  85.9
            1840   2017-12-01               3367                330   Daniel                Del Rio                      6786   2018-03-01                130.8                   218
            1840   2017-12-01               3367                330   Daniel                Del Rio                      7051   2018-04-11                 72.3                 120.5
            1903   2017-11-03               3494                482   Alex                  Simanovsky                   6405   2018-04-05                   24                    40
            1903   2017-11-03               3494                482   Alex                  Simanovsky                   6406   2018-04-05               94.464                157.44
            1906   2017-07-24               3501                482   Alex                  Simanovsky                   6607   2018-04-05               95.712                159.52
            1906   2017-07-24               3501                482   Alex                  Simanovsky                   6397   2018-04-05               78.132                130.22
            1906   2017-07-24               3501                482   Alex                  Simanovsky                   6395   2018-04-05                 99.6                   166
            1906   2017-07-24               3501                482   Alex                  Simanovsky                   6396   2018-04-05                   24                    40
            1906   2017-07-24               3501                482   Alex                  Simanovsky                   6399   2018-04-05               78.132                130.22
            1906   2017-07-24               3501                482   Alex                  Simanovsky                   6414   2018-04-05                   24                    40
            1921   2017-12-14               3534                482   Alex                  Simanovsky                   6402   2018-04-05                   36                    60
            1921   2017-12-14               3534                482   Alex                  Simanovsky                   6401   2018-04-05                   36                    60
            1921   2017-12-14               3534                482   Alex                  Simanovsky                   7115   2018-05-06                 32.1                  53.5
            1921   2017-12-14               3534                482   Alex                  Simanovsky                   7266   2018-05-20                74.16                 123.6
            1921   2017-12-14               3534                482   Alex                  Simanovsky                   7331   2018-06-06               96.888                161.48
            1960   2017-10-10               3611                 43   Jonathan              Wade                        19522   2020-05-29                472.8                   788
            1960   2017-10-10               3611                 43   Jonathan              Wade                        25339   2020-10-06              2988.48                  6226
            1960   2017-10-10               3611                 43   Jonathan              Wade                        19406   2020-05-29              259.656                540.95
            1960   2017-10-10               3611                 43   Jonathan              Wade                        18162   2020-05-14              180.816                 430.5
            1960   2017-10-10               3611                 43   Jonathan              Wade                        18163   2020-05-14              180.816                 430.5
            1960   2017-10-10               3611                 43   Jonathan              Wade                        19458   2020-05-29              212.304                 505.5
            1960   2017-10-10               3611                 43   Jonathan              Wade                        19459   2020-05-29               186.48                   444
            1960   2017-10-10               3611                 43   Jonathan              Wade                        19460   2020-05-29              180.816                 430.5
            1960   2017-10-10               3611                 43   Jonathan              Wade                        19463   2020-05-29              151.824                 361.5
            1960   2017-10-10               3611                 43   Jonathan              Wade                        19674   2020-05-29                590.4                  1230
            1977   2015-03-13               3640                482   Alex                  Simanovsky                   7202   2018-05-13               79.668                132.78
            1977   2015-03-13               3640                482   Alex                  Simanovsky                   7438   2018-06-20               67.656                112.76
            1977   2015-03-13               3640                482   Alex                  Simanovsky                   7329   2018-06-06              184.908                308.18
            1977   2015-03-13               3640                482   Alex                  Simanovsky                   6829   2018-05-06                 30.9                  51.5
            1977   2015-03-13               3640                482   Alex                  Simanovsky                   7330   2018-06-06              235.536                392.56
            1977   2015-03-13               3640                482   Alex                  Simanovsky                   7053   2018-05-06              355.344                592.24
            1977   2015-03-13               3640                482   Alex                  Simanovsky                   6937   2018-05-06                 31.2                    52
            1977   2015-03-13               3640                482   Alex                  Simanovsky                   7328   2018-06-06               81.996                136.66
            2011   1957-06-04               3713                482   Alex                  Simanovsky                   7112   2018-05-06                78.84                 131.4




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                                                                                                                                                          8,185 $        26,723,966.62
PatientID          IncidentDate   ClaimId           AttorneyID         AttorneyFirstName     AttorneyLastName   BillId           PaidDate     BillCost            BillGFB
            2011   1957-06-04                3713                482   Alex                  Simanovsky                   7387   2018-06-06                  48.6                    81
            2011   1957-06-04                3713                482   Alex                  Simanovsky                   7117   2018-05-06              103.296                 172.16
            2011   1957-06-04                3713                482   Alex                  Simanovsky                   7203   2018-05-13              157.512                 262.52
            2011   1957-06-04                3713                482   Alex                  Simanovsky                   7118   2018-05-06              103.596                 172.66
            2011   1957-06-04                3713                482   Alex                  Simanovsky                   7146   2018-05-06              100.284                 167.14
            2020   2015-11-01                3728                482   Alex                  Simanovsky                   6858   2018-05-06               99.756                 166.26
            2020   2015-11-01                3728                482   Alex                  Simanovsky                   7113   2018-05-06              218.364                 363.94
            2020   2015-11-01                3728                482   Alex                  Simanovsky                   7065   2018-05-06               74.004                 123.34
            2020   2015-11-01                3728                482   Alex                  Simanovsky                   7386   2018-06-06                   30                     50
            2020   2015-11-01                3728                482   Alex                  Simanovsky                   7333   2018-06-06                  30.3                  50.5
            2020   2015-11-01                3728                482   Alex                  Simanovsky                   7126   2018-05-06                   30                     50
            2020   2015-11-01                3728                482   Alex                  Simanovsky                   7064   2018-05-06               71.076                 118.46
            2121   2017-12-26                3933                315   Joseph                Zdrilich                    10016   2019-03-19               192.24                    356
            2121   2017-12-26                3933                315   Joseph                Zdrilich                     9657   2019-02-08                259.2                    480
            2179   2017-10-27                4057                 43   Jonathan              Wade                        10678   2019-05-22               140.02                 307.04
            2190   2018-04-27                4082                538   John                  Alday                       32549   2021-08-06               214.08                    446
            2190   2018-04-27                4082                538   John                  Alday                       32550   2021-08-06                  216                    450
            2190   2018-04-27                4082                538   John                  Alday                       32551   2021-08-06               551.04                   1148
            2190   2018-04-27                4082                538   John                  Alday                       32552   2021-08-06               690.24                   1438
            2258   2018-04-01                4220                227   Neal                  Howard                       8324   2018-09-24                  54.6                    91
            2258   2018-04-01                4220                227   Neal                  Howard                       7598   2018-07-01                  48.3                  80.5
            2258   2018-04-01                4220                227   Neal                  Howard                       7672   2018-07-12                  378                  472.5
            2258   2018-04-01                4220                227   Neal                  Howard                       7599   2018-07-01                  51.3                  85.5
            2258   2018-04-01                4251                227   Neal                  Howard                       7702   2018-08-26              176.952                 221.19
            2258   2018-04-01                4251                227   Neal                  Howard                       7770   2018-08-26                  30.3                 37.87
            2258   2018-04-01                4251                227   Neal                  Howard                       7768   2018-08-26                  30.3                 37.87
            2258   2018-04-01                4251                227   Neal                  Howard                       7810   2018-08-26                  60.6                 75.75
            2258   2018-04-01                4251                227   Neal                  Howard                       7772   2018-08-26                  30.3                 37.88
            2258   2018-04-01                4251                227   Neal                  Howard                       7766   2018-08-26                50.82                  63.52
            2258   2018-04-01                4251                227   Neal                  Howard                       7856   2018-08-12               69.912                 116.52
            2258   2018-04-01                7448                227   Neal                  Howard                      15352   2018-09-17                34.25                  95.14
            2312   2018-06-05                4319                227   Neal                  Howard                       8294   2018-09-24               79.296                  99.12
            2312   2018-06-05                4319                227   Neal                  Howard                       8046   2018-08-26                  32.4                  40.5
            2312   2018-06-05                4319                227   Neal                  Howard                       8293   2018-09-24               81.252                 101.56
            2312   2018-06-05                4319                227   Neal                  Howard                       8545   2018-10-29              208.356                 260.45
            2313   2020-11-25               21297                 39   Reginald A            Greene                      29047   2021-02-12                  189                    350
            2327   2016-02-22                4353                 21   Peter                 Ross                         8299   2018-09-24              473.496                 591.87
            2327   2016-02-22                4353                 21   Peter                 Ross                         8298   2018-09-24              124.212                 155.26
            2327   2016-02-22                4353                 21   Peter                 Ross                         8297   2018-09-24                  34.5                 43.12
            2348   2018-06-19                4391                463   Ronald                Chalker                      8292   2018-09-24               79.596                   99.5
            2348   2018-06-19                4391                463   Ronald                Chalker                      8336   2018-09-28               73.296                  91.62
            2348   2018-06-19                4391                463   Ronald                Chalker                      8331   2018-09-24                  43.5                 54.38
            2348   2018-06-19                4391                463   Ronald                Chalker                      8271   2018-09-24              183.564                 229.46
            2350   2018-06-23                4393                463   Ronald                Chalker                      8272   2018-09-24               79.296                  99.12
            2350   2018-06-23                4393                463   Ronald                Chalker                      8344   2018-09-28                   30                   37.5
            2350   2018-06-23                4393                463   Ronald                Chalker                      8085   2018-08-26               80.196                 100.25
            2350   2018-06-23                4393                463   Ronald                Chalker                      8343   2018-09-28                  44.1                 55.13
            2351   2018-08-02                4394                463   Ronald                Chalker                      8273   2018-10-29                  30.6                 38.25
            2351   2018-08-02                4394                463   Ronald                Chalker                      8311   2018-09-24               92.316                  115.4
            2351   2018-08-02                4394                463   Ronald                Chalker                      8286   2018-09-24               73.296                  91.62
            2351   2018-08-02                4394                463   Ronald                Chalker                      8285   2018-09-24                  38.7                 48.38
            2352   2016-06-13                4395                 21   Peter                 Ross                         8447   2018-10-29               77.688                  97.11
            2352   2016-06-13                4395                 21   Peter                 Ross                         8303   2018-09-24                  30.3                 25.25
            2355   2017-03-31                4399                227   Neal                  Howard                       8301   2018-09-24               61.656                  77.07
            2355   2017-03-31                4399                227   Neal                  Howard                       8449   2018-10-29                  30.3                 25.25
            2355   2017-03-31                4399                227   Neal                  Howard                       8494   2018-10-29                  30.3                 25.25
            2355   2017-03-31                4399                227   Neal                  Howard                       8479   2018-10-29                  30.3                 25.25
            2355   2017-03-31                4399                227   Neal                  Howard                       8334   2018-09-24              126.744                 158.43
            2361   2018-08-12                4412                227   Neal                  Howard                       8342   2018-09-28                  90.6                113.25
            2361   2018-08-12                4412                227   Neal                  Howard                       8682   2018-10-29                   30                     25
            2361   2018-08-12                4412                227   Neal                  Howard                       8542   2018-10-29              198.612                 248.27
            2380   2015-10-14                4447                330   Daniel                Del Rio                      8380   2018-09-20              4836.72                 8061.2
            2540   2018-04-08                4771                 17   Bruce                 Hagen                       25370   2020-10-06               762.72                   1389
            2540   2018-04-08                4771                 17   Bruce                 Hagen                       27714   2020-12-04                   96                    200
            2569   2018-11-10                4843                 39   Reginald A            Greene                      32676   2021-09-03              1261.98                   2337
            2569   2018-11-10                4843                 39   Reginald A            Greene                      32506   2021-08-06               451.44                    836
            2569   2018-11-10                4843                 39   Reginald A            Greene                      32722   2021-09-03               177.66                    329
            2600   2018-08-31                4911                571   Larry                 Littleton                   29975   2021-04-15                  720                   4500
            2600   2018-08-31                4911                571   Larry                 Littleton                   32095   2021-06-30                 1440                   9000
            2616   2018-11-02                4943                262   W. Winston            Briggs                      25270   2020-10-06              400.464                  834.3
            2624   2018-09-21                4961                526   Bobby                 Johnson                     27381   2020-11-10                81.54                    151
            2624   2018-09-21                4961                526   Bobby                 Johnson                     28120   2020-12-22               115.02                    213
            2624   2018-09-21                4961                526   Bobby                 Johnson                     27377   2020-11-10                186.3                    345
            2624   2018-09-21                4961                526   Bobby                 Johnson                     27379   2020-11-10               157.14                    291
            2624   2018-09-21                4961                526   Bobby                 Johnson                     27380   2020-11-10               133.92                    248
            2624   2018-09-21                4961                526   Bobby                 Johnson                     27378   2020-11-10                186.3                    345
            2633   2018-11-07                4979                568   Casey                 Geiger                      28247   2020-12-22                926.4                   1930
            2633   2018-11-07                4979                568   Casey                 Geiger                      27971   2020-12-07              356.808                 743.35
            2633   2018-11-07                4979                568   Casey                 Geiger                      18938   2020-05-29                  264                    550
            2633   2018-11-07                4979                568   Casey                 Geiger                      25278   2020-09-25                 1896                   3950
            2633   2018-11-07                4979                568   Casey                 Geiger                      28918   2021-02-02                  264                    550
            2633   2018-11-07                4979                568   Casey                 Geiger                      25279   2020-09-25                  264                    550
            2633   2018-11-07                4979                568   Casey                 Geiger                      30159   2021-04-26                957.6                   1995
            2633   2018-11-07                4979                568   Casey                 Geiger                      19071   2020-05-29                  372                    775
            2633   2018-11-07                4979                568   Casey                 Geiger                      18291   2020-05-14                  264                    550
            2633   2018-11-07                4979                568   Casey                 Geiger                      24582   2020-08-13                  264                    550
            2633   2018-11-07                4979                568   Casey                 Geiger                      25280   2020-09-25                  216                    450
            2633   2018-11-07                4979                568   Casey                 Geiger                      31298   2021-05-19                  264                    550
            2633   2018-11-07                4979                568   Casey                 Geiger                      19317   2020-05-29              299.256                  712.5
            2633   2018-11-07                4979                568   Casey                 Geiger                      19318   2020-05-29              185.856                  442.5
            2633   2018-11-07                4979                568   Casey                 Geiger                      19401   2020-05-29                151.2                    360




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                                                                                Tecumseh Owned Receivables




                                                                                                                                                           8,185 $       26,723,966.62
PatientID          IncidentDate   ClaimId          AttorneyID          AttorneyFirstName     AttorneyLastName   BillId           PaidDate     BillCost            BillGFB
            2633   2018-11-07               4979                 568   Casey                 Geiger                      19914   2020-05-29                 176.4                   420
            2633   2018-11-07               4979                 568   Casey                 Geiger                      19916   2020-05-29                 151.2                   360
            2633   2018-11-07               4979                 568   Casey                 Geiger                      22140   2020-06-12                 176.4                   420
            2633   2018-11-07               4979                 568   Casey                 Geiger                      22141   2020-06-12               180.816                 430.5
            2633   2018-11-07               4979                 568   Casey                 Geiger                      23104   2020-06-29                   264                   550
            2633   2018-11-07               4979                 568   Casey                 Geiger                      23241   2020-06-29                 151.2                   360
            2633   2018-11-07               4979                 568   Casey                 Geiger                      23935   2020-07-23                 176.4                   420
            2633   2018-11-07               4979                 568   Casey                 Geiger                      23936   2020-07-23                 151.2                   360
            2633   2018-11-07               4979                 568   Casey                 Geiger                      23937   2020-07-23               185.856                 442.5
            2633   2018-11-07               4979                 568   Casey                 Geiger                      24441   2020-07-23                 176.4                   420
            2633   2018-11-07               4979                 568   Casey                 Geiger                      24482   2020-07-23                 176.4                   420
            2633   2018-11-07               4979                 568   Casey                 Geiger                      28388   2021-01-05                   264                   550
            2633   2018-11-07               4979                 568   Casey                 Geiger                      29860   2021-04-14               389.378                884.96
            2668   2018-11-19               5050                 262   W. Winston            Briggs                       9803   2019-02-21               235.824                294.78
            2677   2018-09-10               5067                 634   Natanya               Brooks                      27850   2020-12-04                1814.4                  3780
            2677   2018-09-10               5067                 634   Natanya               Brooks                      28226   2021-01-07               173.736                 723.9
            2677   2018-09-10               5067                 634   Natanya               Brooks                      28516   2021-01-05              1543.404              3215.42
            2677   2018-09-10               5067                 634   Natanya               Brooks                      17086   2020-03-04                44.364                184.84
            2677   2018-09-10               5067                 634   Natanya               Brooks                      29009   2021-02-12               123.576                257.46
            2677   2018-09-10               5067                 634   Natanya               Brooks                      28639   2021-01-19               123.576                257.46
            2677   2018-09-10               5067                 634   Natanya               Brooks                      27398   2020-11-10               266.676                555.57
            2677   2018-09-10               5067                 634   Natanya               Brooks                      28464   2021-01-05                 974.4                  2030
            2677   2018-09-10               5067                 634   Natanya               Brooks                      15223   2019-09-03                43.488                 181.2
            2677   2018-09-10               5067                 634   Natanya               Brooks                      15224   2019-09-03                 44.34                184.74
            2677   2018-09-10               5067                 634   Natanya               Brooks                      15233   2019-12-03                41.316                172.14
            2677   2018-09-10               5067                 634   Natanya               Brooks                      15234   2019-12-03                 43.02                179.24
            2677   2018-09-10               5067                 634   Natanya               Brooks                      24382   2020-07-23                   744                  1550
            2677   2018-09-10               5067                 634   Natanya               Brooks                      27577   2020-11-16                 974.4                  2030
            2677   2018-09-10               5067                 634   Natanya               Brooks                      28055   2020-12-22                 249.6                   520
            2677   2018-09-10               5067                 634   Natanya               Brooks                      15232   2020-01-03                24.192                 100.8
            2677   2018-09-10               5067                 634   Natanya               Brooks                      25027   2020-09-17                 974.4                  2030
            2677   2018-09-10               5067                 634   Natanya               Brooks                      27350   2020-11-10               358.416                1493.4
            2677   2018-09-10               5067                 634   Natanya               Brooks                      24909   2020-09-03                287.82              1199.23
            2677   2018-09-10               5067                 634   Natanya               Brooks                      28933   2021-02-02                 275.4                   510
            2677   2018-09-10               5067                 634   Natanya               Brooks                      30651   2021-05-03                 50.94                212.26
            2677   2018-09-10               5067                 634   Natanya               Brooks                      31291   2021-05-19                 249.6                   520
            2677   2018-09-10               5067                 634   Natanya               Brooks                      15235   2019-12-03                46.884                195.36
            2677   2018-09-10               5067                 634   Natanya               Brooks                      21266   2020-07-02                287.82              1199.23
            2677   2018-09-10               5067                 634   Natanya               Brooks                      24501   2020-11-10                266.68                555.57
            2677   2018-09-10               5067                 634   Natanya               Brooks                      27849   2020-12-04                1214.4                  2530
            2677   2018-09-10               5067                 634   Natanya               Brooks                      15222   2019-09-03                 43.86                182.76
            2677   2018-09-10               5067                 634   Natanya               Brooks                      23953   2020-08-05                287.82              1199.23
            2677   2018-09-10               5067                 634   Natanya               Brooks                      17296   2020-03-04                36.516                152.14
            2677   2018-09-10               5067                 634   Natanya               Brooks                      27399   2020-11-10               266.676                555.57
            2677   2018-09-10               5067                 634   Natanya               Brooks                      30087   2021-04-22               1318.14                  2441
            2677   2018-09-10               5067                 634   Natanya               Brooks                      30652   2021-05-03               173.736                 723.9
            2677   2018-09-10               5067                 634   Natanya               Brooks                      21887   2020-06-12                   744                  1550
            2677   2018-09-10               5067                 634   Natanya               Brooks                      26851   2020-10-21                 249.6                   520
            2677   2018-09-10               5067                 634   Natanya               Brooks                      27400   2020-11-10               123.576                257.46
            2677   2018-09-10               5067                 634   Natanya               Brooks                      29116   2021-03-08                72.765                330.76
            2677   2018-09-10               5067                 634   Natanya               Brooks                      30089   2021-04-22               162.855                   329
            2677   2018-09-10               5067                 634   Natanya               Brooks                      15230   2019-12-03                44.256                 184.4
            2677   2018-09-10               5067                 634   Natanya               Brooks                      29114   2021-03-08                 43.45                197.49
            2677   2018-09-10               5067                 634   Natanya               Brooks                      29259   2021-03-19               224.235                   453
            2677   2018-09-10               5067                 634   Natanya               Brooks                      30088   2021-04-22                 569.7                  1055
            2677   2018-09-10               5067                 634   Natanya               Brooks                      20071   2020-06-12                 249.6                   520
            2677   2018-09-10               5067                 634   Natanya               Brooks                      29115   2021-03-08                43.087                195.87
            2699   2018-10-25               5111                2116   Ben                   Stidham                     24503   2020-10-21                478.44                   886
            2699   2018-10-25               5111                2116   Ben                   Stidham                     24504   2020-08-13                   108                   180
            2719   2018-11-16               5151                  43   Jonathan              Wade                        12030   2019-10-25              14481.64             30170.08
            2749   2018-11-14               5211                  87   Eric L                Jensen                      15717   2019-09-03                43.044                119.56
            2749   2018-11-14               5211                  87   Eric L                Jensen                      15719   2019-11-04                45.024                125.08
            2749   2018-11-14               5211                  87   Eric L                Jensen                      15721   2019-12-03                18.576                  51.6
            2760   2018-12-14               5237                  43   Jonathan              Wade                        23109   2020-06-29              3130.128                6521.1
            2760   2018-12-14               5237                  43   Jonathan              Wade                        24383   2020-07-23                   216                   450
            2760   2018-12-14               5237                  43   Jonathan              Wade                        24561   2020-08-13                   264                   550
            2760   2018-12-14               5237                  43   Jonathan              Wade                        25034   2020-09-25                   216                   450
            2760   2018-12-14               5237                  43   Jonathan              Wade                        24733   2020-08-13              3356.112                6991.9
            2760   2018-12-14               5237                  43   Jonathan              Wade                        23151   2020-06-29                   264                   550
            2760   2018-12-14               5237                  43   Jonathan              Wade                        25035   2020-09-25                   264                   550
            2760   2018-12-14               5237                  43   Jonathan              Wade                        25037   2020-09-25                   216                   450
            2760   2018-12-14               5237                  43   Jonathan              Wade                        18243   2020-05-14                180.18                   429
            2760   2018-12-14               5237                  43   Jonathan              Wade                        18244   2020-05-14                 151.2                   360
            2760   2018-12-14               5237                  43   Jonathan              Wade                        18540   2020-05-14                 151.2                   360
            2760   2018-12-14               5237                  43   Jonathan              Wade                        19072   2020-05-29                124.32                   259
            2760   2018-12-14               5237                  43   Jonathan              Wade                        19331   2020-05-29                 151.2                   360
            2760   2018-12-14               5237                  43   Jonathan              Wade                        19332   2020-05-29                 151.2                   360
            2760   2018-12-14               5237                  43   Jonathan              Wade                        19333   2020-05-29                 151.2                   360
            2760   2018-12-14               5237                  43   Jonathan              Wade                        19399   2020-05-29                180.18                   429
            2760   2018-12-14               5237                  43   Jonathan              Wade                        19400   2020-05-29                 151.2                   360
            2760   2018-12-14               5237                  43   Jonathan              Wade                        19919   2020-05-29                 151.2                   360
            2760   2018-12-14               5237                  43   Jonathan              Wade                        19922   2020-05-29               180.816                 430.5
            2760   2018-12-14               5237                  43   Jonathan              Wade                        21901   2020-06-12               151.824                 361.5
            2760   2018-12-14               5237                  43   Jonathan              Wade                        23105   2020-06-29               151.824                 361.5
            2760   2018-12-14               5237                  43   Jonathan              Wade                        23106   2020-06-29               151.824                 361.5
            2760   2018-12-14               5237                  43   Jonathan              Wade                        23107   2020-06-29                146.16                   348
            2760   2018-12-14               5237                  43   Jonathan              Wade                        23108   2020-06-29                146.16                   348
            2760   2018-12-14               5237                  43   Jonathan              Wade                        23239   2020-06-29                146.16                   348
            2760   2018-12-14               5237                  43   Jonathan              Wade                        23240   2020-06-29                146.16                   348
            2760   2018-12-14               5237                  43   Jonathan              Wade                        24109   2020-07-23                146.16                   348
            2760   2018-12-14               5237                  43   Jonathan              Wade                        24110   2020-07-23                146.16                   348




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                                                                                                                                                            8,185 $      26,723,966.62
PatientID          IncidentDate   ClaimId          AttorneyID         AttorneyFirstName     AttorneyLastName   BillId           PaidDate     BillCost             BillGFB
            2760   2018-12-14               5237                 43   Jonathan              Wade                        24111   2020-07-23                 152.46                   363
            2760   2018-12-14               5237                 43   Jonathan              Wade                        24437   2020-07-23                  151.2                   360
            2760   2018-12-14               5237                 43   Jonathan              Wade                        24583   2020-08-13                180.816                 430.5
            2760   2018-12-14               5237                 43   Jonathan              Wade                        24584   2020-08-13                151.824                 361.5
            2760   2018-12-14               5237                 43   Jonathan              Wade                        24707   2020-08-13                  151.2                   360
            2760   2018-12-14               5237                 43   Jonathan              Wade                        24708   2020-08-13                180.816                 430.5
            2760   2018-12-14               5237                 43   Jonathan              Wade                        24960   2020-09-17                151.824                 361.5
            2760   2018-12-14               5237                 43   Jonathan              Wade                        24961   2020-09-17                 146.16                   348
            2760   2018-12-14               5237                 43   Jonathan              Wade                        24962   2020-09-17                 133.98                   319
            2760   2018-12-14               5237                 43   Jonathan              Wade                        24973   2020-09-17                  180.6                   430
            2760   2018-12-14               5237                 43   Jonathan              Wade                        24975   2020-09-17                  151.2                   360
            2760   2018-12-14               5237                 43   Jonathan              Wade                        24976   2020-09-17                  151.2                   360
            2760   2018-12-14               5237                 43   Jonathan              Wade                        25030   2020-09-17                180.816                 430.5
            2760   2018-12-14               5237                 43   Jonathan              Wade                        25031   2020-09-17                151.824                 361.5
            2767   2019-02-27               5251                624   Cristobal M.          Galindo                     10668   2019-05-15                    384                  3200
            2768   2019-02-27               5253                624   Cristobal M.          Galindo                     10669   2019-05-15                    288                  2400
            2772   2019-02-27               5261                624   Cristobal M.          Galindo                     10667   2019-05-15                    393                  3275
            2819   2019-04-25               5357                630   Jonathan              Broderick                   10429   2019-04-30                133.848                223.08
            2819   2019-04-25               5357                630   Jonathan              Broderick                   11050   2019-06-28                 95.352                 119.2
            2820   2019-04-25               5358                630   Jonathan              Broderick                   10691   2019-05-22                 84.696                105.87
            2820   2019-04-25               5358                630   Jonathan              Broderick                   10694   2019-05-22                 95.136                158.56
            2836   2018-01-17               5389                463   Ronald                Chalker                     24556   2020-08-13                 1310.4                  2730
            2914   2019-02-09               5545                 50   Matthew               Broun                       10670   2019-05-31                    336                   700
            2915   2019-03-20               5547                691   Everett               Day                         10672   2019-05-15                 119.88                   999
            2916   2019-04-23               5549                626   Joshua D.             Chambers                    10673   2019-05-15                    750                  6250
            2917   2019-03-26               5551                626   Joshua D.             Chambers                    10674   2019-05-15                    540                  4500
            2918   2019-04-10               5553                692   David                 Ortiz                       10675   2019-05-15                    540                  4500
            2919   2019-03-01               5555                626   Joshua D.             Chambers                    10676   2019-05-15                   1080                  9000
            2921   2019-05-01               5559                630   Jonathan              Broderick                   10681   2019-05-22                107.292                178.82
            2921   2019-05-01               5559                630   Jonathan              Broderick                   10683   2019-05-22                 78.324                130.54
            2924   2019-05-14               5564                630   Jonathan              Broderick                   10685   2019-05-22                 69.612                116.02
            2926   2019-05-14               5567                630   Jonathan              Broderick                   10687   2019-05-22                 90.036                150.06
            2940   2019-03-12               5594                 39   Reginald A            Greene                      28036   2020-12-22                259.656                540.95
            2940   2019-03-12               5594                 39   Reginald A            Greene                      27593   2020-12-04                136.176                283.71
            2963   2019-01-07               5640                202   Caroline              Owings                      18544   2020-05-14                  259.2                   480
            2963   2019-01-07               5640                202   Caroline              Owings                      18712   2020-05-29                788.232              1313.72
            2963   2019-01-07               5640                202   Caroline              Owings                      18316   2020-05-14                1134.24                  2363
            2963   2019-01-07               5640                202   Caroline              Owings                      18317   2020-05-14                 414.24                   863
            2963   2019-01-07               5640                202   Caroline              Owings                      18713   2020-05-29                  259.2                   480
            2963   2019-01-07               5640                202   Caroline              Owings                      23589   2020-07-23                 1161.6                  2420
            2976   2018-12-13               5666                 30   Craig                 Miller                      27948   2020-12-07                  590.4                  1230
            2977   2019-04-19               5668                103   Alyssa                Martins                     18313   2020-05-14                     60                   125
            2995   2018-10-18               5704                702   Timothy               Gardner                     13096   2019-11-14                6860.16                 12704
            2995   2018-10-18               5704                702   Timothy               Gardner                     18551   2020-05-14                  105.3                195.05
            2995   2018-10-18               5704                702   Timothy               Gardner                     23052   2020-06-29                105.324                195.05
            3001   2019-04-19               5718                298   Jack                  Hinton                      11630   2019-09-06                 537.55                  1500
            3001   2019-04-19               5718                298   Jack                  Hinton                      18318   2020-05-14                  484.8                  1010
            3001   2019-04-19               5718                298   Jack                  Hinton                      18306   2020-05-14                     60                   125
            3001   2019-04-19               5718                298   Jack                  Hinton                      23987   2020-07-23                 302.88                   631
            3042   2017-07-22               5799                708   Nhan                  Nguyen                      11005   2019-06-24                 542.21                2510.2
            3046   2018-01-08               5807                708   Nhan                  Nguyen                      11009   2019-06-24                3159.98             14629.54
            3046   2018-01-08               5807                708   Nhan                  Nguyen                      11010   2019-06-24                4215.64             19516.86
            3046   2018-01-08               5807                708   Nhan                  Nguyen                      11011   2019-06-24                3747.25              17348.4
            3056   2017-12-07               5828                708   Nhan                  Nguyen                      11024   2019-06-28                9433.25             43672.45
            3059   2017-12-05               5834                634   Natanya               Brooks                      16286   2019-10-01                 42.168                117.12
            3059   2017-12-05               5834                634   Natanya               Brooks                      16287   2019-10-01                 41.952                116.52
            3059   2017-12-05               5834                634   Natanya               Brooks                      32496   2021-08-06               2426.004                4492.6
            3059   2017-12-05               5834                634   Natanya               Brooks                      32497   2021-08-06                752.976                1394.4
            3059   2017-12-05               5834                634   Natanya               Brooks                      17016   2020-03-04                 45.456                126.27
            3059   2017-12-05               5834                634   Natanya               Brooks                      23821   2020-07-02                 57.252                159.04
            3059   2017-12-05               5834                634   Natanya               Brooks                      16282   2019-10-01                 41.532                115.36
            3059   2017-12-05               5834                634   Natanya               Brooks                      16284   2019-10-01                 41.544                 115.4
            3059   2017-12-05               5834                634   Natanya               Brooks                      16288   2019-10-01                  41.46                115.16
            3059   2017-12-05               5834                634   Natanya               Brooks                      17017   2020-03-04                 41.532                115.36
            3059   2017-12-05               5834                634   Natanya               Brooks                      16293   2019-09-03                 41.904                 116.4
            3078   2019-05-06               5871                463   Ronald                Chalker                     24319   2020-07-23                    204                   425
            3091   2018-08-07               5897                708   Nhan                  Nguyen                      11128   2019-06-28                2806.99             12995.35
            3103   2018-06-19               5921                463   Ronald                Chalker                     11635   2019-09-06                  196.8                   410
            3180   2019-07-29               6075                668   James                 Grant                       11400   2019-08-15                    30.3                 50.5
            3180   2019-07-29               6075                668   James                 Grant                       11406   2019-08-15                    30.3                 50.5
            3192   2019-07-30               6098                668   James                 Grant                       11420   2019-08-15                    30.3                 50.5
            3193   2019-07-23               6099                668   James                 Grant                       11421   2019-08-15                    32.7                 54.5
            3194   0001-01-01               6100                668   James                 Grant                       11422   2019-08-15                 65.364                108.94
            3280   2019-05-28               6269                116   Michael               Moran                       18164   2020-05-14                  88.62                164.12
            3280   2019-05-28               6269                116   Michael               Moran                       23915   2020-07-23                4841.64                  8966
            3280   2019-05-28               6269                116   Michael               Moran                       23985   2020-07-23                1732.86                  3209
            3280   2019-05-28               6269                116   Michael               Moran                       23293   2020-06-29                 149.04                   276
            3298   2019-04-26               6307                463   Ronald                Chalker                     11632   2019-09-06                    336                   700
            3298   2019-04-26               6307                463   Ronald                Chalker                     24753   2020-09-17                   7560                 15000
            3298   2019-04-26               6307                463   Ronald                Chalker                     24452   2020-08-13                 193.92                   404
            3298   2019-04-26               6307                463   Ronald                Chalker                     24564   2020-07-30                  54240               113000
            3298   2019-04-26               6307                463   Ronald                Chalker                     25102   2020-09-09               -8868.24             -18475.5
            3300   2019-07-17               6311                 85   Rory S.               Chumley                     11634   2019-09-06                    780                  2370
            3312   2019-05-25               6335                 30   Craig                 Miller                      17581   2020-03-26              12623.652             26299.28
            3312   2019-05-25               6335                 30   Craig                 Miller                      23316   2020-06-25              -1948.452             -4059.28
            3312   2019-05-25               6335                 30   Craig                 Miller                      20058   2020-06-12               2763.216                5756.7
            3312   2019-05-25               6335                 30   Craig                 Miller                      19405   2020-05-29                140.772                293.28
            3312   2019-05-25               6335                 30   Craig                 Miller                      24856   2020-09-17                140.772                293.28
            3316   2016-10-14               6343                747   Riah                  Greathouse                  24493   2020-07-23                 124.68                259.74
            3316   2016-10-14               6343                747   Riah                  Greathouse                  24494   2020-07-23                181.068                377.23
            3316   2016-10-14               6343                747   Riah                  Greathouse                  28634   2021-01-19                    720                  1500




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                                                                                Tecumseh Owned Receivables




                                                                                                                                                           8,185 $       26,723,966.62
PatientID          IncidentDate   ClaimId           AttorneyID         AttorneyFirstName     AttorneyLastName   BillId           PaidDate     BillCost            BillGFB
            3316   2016-10-14                6343                747   Riah                  Greathouse                  31995   2021-06-24                 75.36                157.01
            3316   2016-10-14                6343                747   Riah                  Greathouse                  24497   2020-07-23                   720                  1500
            3316   2016-10-14                6343                747   Riah                  Greathouse                  13673   2019-12-04                  1200                  6000
            3316   2016-10-14                6343                747   Riah                  Greathouse                  28551   2021-01-19                 184.8                   385
            3316   2016-10-14                6343                747   Riah                  Greathouse                  13675   2019-12-04                 28800                 59618
            3316   2016-10-14                6343                747   Riah                  Greathouse                  24492   2020-07-23                181.08                377.23
            3316   2016-10-14                6343                747   Riah                  Greathouse                  28550   2021-01-19                 75.36                157.01
            3316   2016-10-14                6343                747   Riah                  Greathouse                  24496   2020-07-23               1028.88                2143.5
            3316   2016-10-14                6343                747   Riah                  Greathouse                  28635   2021-01-19               141.696                295.51
            3316   2016-10-14                6343                747   Riah                  Greathouse                  24495   2020-07-23                279.42                582.12
            3316   2016-10-14                6343                747   Riah                  Greathouse                  32639   2021-09-03                 75.36                157.01
            3318   2020-01-30               14839                 70   Charles E (Ted)       Lake, Jr.                   32291   2021-07-13                 400.8                   835
            3318   2020-01-30               14839                 70   Charles E (Ted)       Lake, Jr.                   24855   2020-09-17                   780                  2225
            3318   2020-01-30               14839                 70   Charles E (Ted)       Lake, Jr.                   32293   2021-07-13               3799.68                 11874
            3318   2020-01-30               14839                 70   Charles E (Ted)       Lake, Jr.                   21749   2020-06-12                   780                  2370
            3318   2020-01-30               14839                 70   Charles E (Ted)       Lake, Jr.                   32292   2021-07-30               1060.32                  2209
            3338   2019-07-11                6389                144   Angel                 Figueredo                   23045   2020-06-29                 211.8                441.24
            3349   2019-09-08                6411                 50   Matthew               Broun                       18319   2020-05-14                1814.4                  3780
            3349   2019-09-08                6411                 50   Matthew               Broun                       24272   2020-07-23                1214.4                  2530
            3349   2019-09-08                6411                 50   Matthew               Broun                       24273   2020-07-23                1814.4                  3780
            3349   2019-09-08                6411                 50   Matthew               Broun                       21889   2020-06-12                 249.6                   520
            3349   2019-09-08                6411                 50   Matthew               Broun                       18320   2020-05-14                1214.4                  2530
            3349   2019-09-08                6411                 50   Matthew               Broun                       18321   2020-05-14                 249.6                   520
            3349   2019-09-08                6411                 50   Matthew               Broun                       24112   2020-07-23                 249.6                   520
            3349   2019-09-08                6411                 50   Matthew               Broun                       18165   2020-05-14                   528                  1100
            3365   2019-08-19                6442                312   Benjamin              Bengtson                    21879   2020-06-12                 140.4                   260
            3365   2019-08-19                6442                312   Benjamin              Bengtson                    21888   2020-06-12                 105.3                   195
            3372   2016-08-06                6458                762   Paul                  Kaufman                     23992   2020-07-23                9657.6                 20120
            3372   2016-08-06                6458                762   Paul                  Kaufman                     23990   2020-07-23                   384                   800
            3372   2016-08-06                6458                762   Paul                  Kaufman                     23991   2020-07-23               3161.76                  6587
            3372   2016-08-06                6458                762   Paul                  Kaufman                     18322   2020-05-14                 249.6                   520
            3372   2016-08-06                6458                762   Paul                  Kaufman                     24572   2020-08-13                 424.8                   885
            3372   2016-08-06                6458                762   Paul                  Kaufman                     18161   2020-05-14                  2340                  7110
            3372   2016-08-06                6458                762   Paul                  Kaufman                     23989   2020-07-23                 249.6                   520
            3384   2018-10-11                6478                764   Russell               Boston                      24512   2020-08-13                   264                   550
            3384   2018-10-11                6478                764   Russell               Boston                      25346   2020-09-25                   264                   550
            3384   2018-10-11                6478                764   Russell               Boston                      24513   2020-08-13                   948                  1975
            3384   2018-10-11                6478                764   Russell               Boston                      12100   2019-10-21              27051.43             56357.14
            3384   2018-10-11                6478                764   Russell               Boston                      12166   2019-10-31               7157.09             14910.61
            3384   2018-10-11                6478                764   Russell               Boston                      12167   2019-10-31                   504                  1050
            3384   2018-10-11                6478                764   Russell               Boston                      24514   2020-08-13                   216                   450
            3384   2018-10-11                6478                764   Russell               Boston                      18294   2020-05-29                124.32                   259
            3397   2019-09-19                6506                 39   Reginald A            Greene                      19230   2020-05-29                146.88                   306
            3397   2019-09-19                6506                 39   Reginald A            Greene                      19231   2020-05-29                 23.52                    49
            3412   2019-03-08                6536                794   Nicholas              Lasso                       23032   2020-06-29              49502.04               142293
            3412   2019-03-08                6536                794   Nicholas              Lasso                       22115   2020-06-12                  5796                 13800
            3412   2019-03-08                6536                794   Nicholas              Lasso                       24506   2020-08-13                  2400                 16491
            3412   2019-03-08                6536                794   Nicholas              Lasso                       24507   2020-08-13                  3000                 31424
            3412   2019-03-08                6536                794   Nicholas              Lasso                       24559   2020-08-13                 825.6                  1720
            3511   2018-09-12                6734                767   DarrenO.              Aitken                      15507   2020-01-03                 24.12                    67
            3511   2018-09-12                6734                767   DarrenO.              Aitken                      15506   2019-12-03                45.648                 126.8
            3511   2018-09-12                6734                767   DarrenO.              Aitken                      15510   2019-12-03                42.708                118.63
            3511   2018-09-12                6734                767   DarrenO.              Aitken                      15512   2019-12-03                55.368                153.79
            3511   2018-09-12                6734                767   DarrenO.              Aitken                      15509   2019-12-03                 50.76                140.99
            3511   2018-09-12                6734                767   DarrenO.              Aitken                      15504   2020-01-03                42.708                118.63
            3511   2018-09-12                6734                767   DarrenO.              Aitken                      15508   2020-01-03                 28.68                 79.68
            3511   2018-09-12                6734                767   DarrenO.              Aitken                      15511   2019-12-03                69.576                193.25
            3514   2018-10-04                6740                769   Kevin                 Danesh                      20359   2020-06-01                27.024                 75.08
            3514   2018-10-04                6740                769   Kevin                 Danesh                      27358   2020-11-10                39.672                 110.2
            3514   2018-10-04                6740                769   Kevin                 Danesh                      31427   2021-06-03                25.656                 71.25
            3514   2018-10-04                6740                769   Kevin                 Danesh                      27355   2020-11-10                 27.36                    76
            3514   2018-10-04                6740                769   Kevin                 Danesh                      32670   2021-08-17                69.288                192.46
            3514   2018-10-04                6740                769   Kevin                 Danesh                      19786   2020-06-01                17.136                  47.6
            3514   2018-10-04                6740                769   Kevin                 Danesh                      23235   2020-07-02                 67.56                187.66
            3514   2018-10-04                6740                769   Kevin                 Danesh                      25310   2020-10-05                17.136                  47.6
            3514   2018-10-04                6740                769   Kevin                 Danesh                      25311   2020-10-05                75.888                210.79
            3514   2018-10-04                6740                769   Kevin                 Danesh                      27011   2020-11-10                69.288                192.46
            3514   2018-10-04                6740                769   Kevin                 Danesh                      29572   2021-04-02                30.624                 85.08
            3514   2018-10-04                6740                769   Kevin                 Danesh                      31712   2021-06-03                25.656                 71.25
            3514   2018-10-04                6740                769   Kevin                 Danesh                      32669   2021-08-17                25.608                 71.14
            3514   2018-10-04                6740                769   Kevin                 Danesh                      20357   2020-06-01                69.288                192.46
            3514   2018-10-04                6740                769   Kevin                 Danesh                      27898   2020-12-02                28.728                  79.8
            3514   2018-10-04                6740                769   Kevin                 Danesh                      28604   2021-02-03                31.464                  87.4
            3514   2018-10-04                6740                769   Kevin                 Danesh                      29972   2021-05-03                25.656                 71.25
            3514   2018-10-04                6740                769   Kevin                 Danesh                      26801   2020-11-10                75.888                210.79
            3514   2018-10-04                6740                769   Kevin                 Danesh                      27157   2020-11-10                39.672                 110.2
            3514   2018-10-04                6740                769   Kevin                 Danesh                      27652   2020-12-02                31.464                  87.4
            3514   2018-10-04                6740                769   Kevin                 Danesh                      27899   2020-12-02                30.096                  83.6
            3514   2018-10-04                6740                769   Kevin                 Danesh                      15787   2019-12-03                31.248                 86.81
            3514   2018-10-04                6740                769   Kevin                 Danesh                      18183   2020-05-05                 67.56                187.66
            3514   2018-10-04                6740                769   Kevin                 Danesh                      20358   2020-06-01                41.988                116.63
            3514   2018-10-04                6740                769   Kevin                 Danesh                      24533   2020-08-05                 67.56                187.66
            3514   2018-10-04                6740                769   Kevin                 Danesh                      27653   2020-12-02                87.552                 243.2
            3514   2018-10-04                6740                769   Kevin                 Danesh                      29571   2021-04-02                25.656                 71.25
            3514   2018-10-04                6740                769   Kevin                 Danesh                      32671   2021-08-17                27.024                 75.08
            3514   2018-10-04                6740                769   Kevin                 Danesh                      19785   2020-06-01                 67.56                187.66
            3514   2018-10-04                6740                769   Kevin                 Danesh                      27357   2020-11-10                97.128                 269.8
            3514   2018-10-04                6740                769   Kevin                 Danesh                      28229   2021-01-07                31.464                  87.4
            3514   2018-10-04                6740                769   Kevin                 Danesh                      27801   2020-12-02                69.288                192.46
            3514   2018-10-04                6740                769   Kevin                 Danesh                      29847   2021-05-03                31.176                  86.6
            3514   2018-10-04                6740                769   Kevin                 Danesh                      30181   2021-05-03                42.936                119.28




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                                                                                                                                                         8,185 $      26,723,966.62
PatientID          IncidentDate   ClaimId          AttorneyID         AttorneyFirstName     AttorneyLastName   BillId           PaidDate     BillCost          BillGFB
            3514   2018-10-04               6740                769   Kevin                 Danesh                      15786   2019-12-03               17.136                 47.6
            3514   2018-10-04               6740                769   Kevin                 Danesh                      21269   2020-07-02               34.308                 95.3
            3514   2018-10-04               6740                769   Kevin                 Danesh                      26800   2020-11-10               17.136                 47.6
            3514   2018-10-04               6740                769   Kevin                 Danesh                      29848   2021-05-03               28.728                 79.8
            3514   2018-10-04               6740                769   Kevin                 Danesh                      25309   2020-10-05               69.288               192.46
            3514   2018-10-04               6740                769   Kevin                 Danesh                      28605   2021-02-03               28.728                 79.8
            3514   2018-10-04               6740                769   Kevin                 Danesh                      28603   2021-02-03               30.096                 83.6
            3514   2018-10-04               6740                769   Kevin                 Danesh                      31450   2021-06-03               28.728                 79.8
            3514   2018-10-04               6740                769   Kevin                 Danesh                      32929   2021-09-07               69.288               192.46
            3514   2018-10-04               6740                769   Kevin                 Danesh                      23236   2020-07-02               17.136                 47.6
            3514   2018-10-04               6740                769   Kevin                 Danesh                      23822   2020-07-02               69.288               192.46
            3514   2018-10-04               6740                769   Kevin                 Danesh                      27356   2020-11-10               23.256                 64.6
            3514   2018-10-04               6740                769   Kevin                 Danesh                      29573   2021-04-02                28.08                78.01
            3514   2018-10-04               6740                769   Kevin                 Danesh                      29117   2021-03-08               63.514               192.46
            3514   2018-10-04               6740                769   Kevin                 Danesh                      31451   2021-06-03               30.624                85.08
            3523   2018-11-30               6758                774   Farid                 Yaghoubtil                  17993   2020-05-05               48.144               133.74
            3543   2019-10-10               6798                778   Omid                  Khorshidi                   17614   2020-04-03               44.496               123.61
            3543   2019-10-10               6798                778   Omid                  Khorshidi                   18189   2020-05-05               44.496               123.61
            3543   2019-10-10               6798                778   Omid                  Khorshidi                   18190   2020-05-05                44.52               123.65
            3543   2019-10-10               6798                778   Omid                  Khorshidi                   19790   2020-06-01               43.872               121.87
            3543   2019-10-10               6798                778   Omid                  Khorshidi                   19789   2020-06-01                44.52               123.65
            3543   2019-10-10               6798                778   Omid                  Khorshidi                   17615   2020-04-03                44.52               123.65
            3543   2019-10-10               6798                778   Omid                  Khorshidi                   17171   2020-03-04                44.52               123.65
            3543   2019-10-10               6798                778   Omid                  Khorshidi                   17616   2020-04-03               43.872               121.87
            3543   2019-10-10               6798                778   Omid                  Khorshidi                   18191   2020-05-05               43.872               121.87
            3543   2019-10-10               6798                778   Omid                  Khorshidi                   19791   2020-06-01               44.496               123.61
            3543   2019-10-10               6798                778   Omid                  Khorshidi                   17170   2020-03-04               44.496               123.61
            3543   2019-10-10               6798                778   Omid                  Khorshidi                   17169   2020-03-04               43.872               121.87
            3544   2019-07-08               6800                779   Arash                 Khorsandi                   24824   2020-09-03                42.11               116.96
            3544   2019-07-08               6800                779   Arash                 Khorsandi                   29406   2021-04-02               34.776                 96.6
            3544   2019-07-08               6800                779   Arash                 Khorsandi                   30656   2021-05-03                75.24                  209
            3544   2019-07-08               6800                779   Arash                 Khorsandi                   31878   2021-06-01               -75.24                 -209
            3544   2019-07-08               6800                779   Arash                 Khorsandi                   24535   2020-08-05                42.11               116.96
            3544   2019-07-08               6800                779   Arash                 Khorsandi                   27484   2020-11-10               42.108               116.96
            3544   2019-07-08               6800                779   Arash                 Khorsandi                   24534   2020-08-05                33.13                92.04
            3544   2019-07-08               6800                779   Arash                 Khorsandi                   26627   2020-11-10               25.548                70.98
            3544   2019-07-08               6800                779   Arash                 Khorsandi                   26624   2020-11-10               43.332               120.38
            3544   2019-07-08               6800                779   Arash                 Khorsandi                   28016   2021-01-07                 34.2                   95
            3544   2019-07-08               6800                779   Arash                 Khorsandi                   26625   2020-11-10               26.232                72.88
            3544   2019-07-08               6800                779   Arash                 Khorsandi                   26626   2020-11-10                31.62                87.82
            3544   2019-07-08               6800                779   Arash                 Khorsandi                   31820   2021-07-06                28.32                78.66
            3544   2019-07-08               6800                779   Arash                 Khorsandi                   29405   2021-04-02               42.108               116.96
            3546   2019-10-10               6804                777   Hamed                 Yazdanpanah                 17459   2020-04-03               67.908               188.62
            3546   2019-10-10               6804                777   Hamed                 Yazdanpanah                 17090   2020-03-04                49.86               138.51
            3547   1980-12-19               6806                769   Kevin                 Danesh                      17091   2020-03-04                45.48               126.35
            3547   1980-12-19               6806                769   Kevin                 Danesh                      17092   2020-03-04               45.132               125.36
            3552   2019-10-11               6816                777   Hamed                 Yazdanpanah                 16633   2019-12-03               33.108                91.97
            3552   2019-10-11               6816                777   Hamed                 Yazdanpanah                 16635   2019-12-03               33.108                91.97
            3590   2019-03-04               6892                794   Nicholas              Lasso                       15774   2019-12-03                24.12                   67
            3671   2019-09-23               7054                794   Nicholas              Lasso                       15691   2019-12-03               41.004                113.9
            3671   2019-09-23               7054                794   Nicholas              Lasso                       15692   2019-12-03               53.136                147.6
            3672   2019-08-01               7056                794   Nicholas              Lasso                       15792   2019-11-04               37.908                105.3
            3672   2019-08-01               7056                794   Nicholas              Lasso                       18973   2020-06-01               69.192               192.19
            3672   2019-08-01               7056                794   Nicholas              Lasso                       15802   2019-10-01                 41.7               115.84
            3672   2019-08-01               7056                794   Nicholas              Lasso                       18121   2020-05-05               44.508               123.64
            3672   2019-08-01               7056                794   Nicholas              Lasso                       15789   2019-11-04               34.656                96.27
            3672   2019-08-01               7056                794   Nicholas              Lasso                       15797   2019-09-03               41.232               114.52
            3672   2019-08-01               7056                794   Nicholas              Lasso                       15800   2019-10-01               42.264                117.4
            3672   2019-08-01               7056                794   Nicholas              Lasso                       15791   2019-10-01               41.232               114.52
            3672   2019-08-01               7056                794   Nicholas              Lasso                       15794   2019-12-03               37.908                105.3
            3672   2019-08-01               7056                794   Nicholas              Lasso                       15795   2019-11-04                 41.7               115.84
            3672   2019-08-01               7056                794   Nicholas              Lasso                       15801   2019-10-01                 41.7               115.84
            3672   2019-08-01               7056                794   Nicholas              Lasso                       15798   2019-09-03               94.092               261.36
            3673   2019-03-13               7058                774   Farid                 Yaghoubtil                  15626   2019-12-03                42.96               119.32
            3673   2019-03-13               7058                774   Farid                 Yaghoubtil                  15629   2019-09-03               42.888               119.12
            3673   2019-03-13               7058                774   Farid                 Yaghoubtil                  15625   2019-12-03               42.888               119.12
            3673   2019-03-13               7058                774   Farid                 Yaghoubtil                  15628   2019-09-03                42.96               119.32
            3674   2018-08-30               7060                801   Anthony               Perez                       16784   2019-11-04               45.336               125.94
            3674   2018-08-30               7060                801   Anthony               Perez                       21270   2020-07-02               57.684               160.22
            3674   2018-08-30               7060                801   Anthony               Perez                       18188   2020-05-05               57.684               160.22
            3674   2018-08-30               7060                801   Anthony               Perez                       17371   2020-04-03               45.336               125.94
            3674   2018-08-30               7060                801   Anthony               Perez                       16789   2019-09-03                44.34               123.16
            3674   2018-08-30               7060                801   Anthony               Perez                       16790   2019-09-03                 42.6               118.32
            3674   2018-08-30               7060                801   Anthony               Perez                       16786   2019-10-01                44.34               123.16
            3674   2018-08-30               7060                801   Anthony               Perez                       16788   2019-09-03              124.608               346.12
            3674   2018-08-30               7060                801   Anthony               Perez                       16782   2019-10-01                 42.6               118.32
            3674   2018-08-30               7060                801   Anthony               Perez                       16785   2019-11-04                44.34               123.16
            3675   2018-11-22               7062                802   Mark                  Ruszecki                    15811   2019-08-02               47.532               132.04
            3675   2018-11-22               7062                802   Mark                  Ruszecki                    15804   2019-10-01               47.532               132.04
            3675   2018-11-22               7062                802   Mark                  Ruszecki                    15806   2019-10-01                51.84                  144
            3675   2018-11-22               7062                802   Mark                  Ruszecki                    15810   2019-08-02                51.84                  144
            3675   2018-11-22               7062                802   Mark                  Ruszecki                    15808   2019-09-03                51.84                  144
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  15530   2020-02-04               223.74               621.49
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  27161   2020-11-10               30.096                 83.6
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  28537   2021-01-07               44.856                124.6
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  29044   2021-03-08               41.492               125.74
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  29313   2021-03-08               41.118                124.6
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  19556   2020-06-01               61.512               170.86
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  24826   2020-09-03                58.27               161.85
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  28607   2021-02-03               58.272               161.85
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  15531   2020-02-04               44.412               123.36




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                                                                               Tecumseh Owned Receivables




                                                                                                                                                          8,185 $      26,723,966.62
PatientID          IncidentDate   ClaimId          AttorneyID         AttorneyFirstName     AttorneyLastName   BillId           PaidDate      BillCost          BillGFB
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  19555   2020-06-01                58.272               161.85
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  27654   2020-12-02                23.256                 64.6
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  28019   2021-01-07                44.856                124.6
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  28758   2021-02-03                72.504                201.4
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  28961   2021-02-03                44.856                124.6
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  29776   2021-04-02                44.856                124.6
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  15539   2019-11-04                44.412               123.36
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  27487   2020-11-10                44.856                124.6
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  28536   2021-01-07               227.088                630.8
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  29045   2021-03-08                53.416               161.85
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  29118   2021-03-08                66.462                201.4
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  15533   2019-12-03                44.412               123.36
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  17096   2020-03-04                 45.06               125.17
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  17023   2020-03-04                45.264               125.74
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  17095   2020-03-04                20.388                56.63
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  24682   2020-09-03                258.95                719.3
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  27159   2020-11-10                58.272               161.85
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  28454   2021-01-07                72.504                201.4
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  29640   2021-04-02                26.676                 74.1
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  23960   2020-08-05                61.512               170.86
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  27160   2020-11-10                  34.2                   95
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  29408   2021-04-02                 45.06               125.17
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  15537   2019-10-01                44.064                122.4
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  24418   2020-08-05                60.612               168.38
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  25241   2020-10-05                30.396                84.44
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  28232   2021-01-07                23.256                 64.6
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  29407   2021-04-02                58.272               161.85
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  29409   2021-04-02                45.264               125.74
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  29641   2021-04-02                72.504                201.4
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  17460   2020-04-03                52.668                146.3
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  25242   2020-10-05                 45.06               125.17
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  25317   2020-10-05                58.272               161.85
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  27486   2020-11-10                23.256                 64.6
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  28610   2021-02-03                45.264               125.74
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  27803   2020-12-02                72.504                201.4
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  28234   2021-01-07                45.264               125.74
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  28608   2021-02-03                23.256                 64.6
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  17097   2020-03-04                44.412               123.36
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  17373   2020-04-03                44.856                124.6
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  28018   2021-01-07               329.688                915.8
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  15535   2019-09-03                44.064                122.4
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  23961   2020-08-05                58.272               161.85
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  28020   2021-01-07                23.256                 64.6
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  28233   2021-01-07                58.272               161.85
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  28609   2021-02-03                30.096                 83.6
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  29043   2021-03-08                41.305               125.17
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  17617   2020-04-03                 45.06               125.17
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  24825   2020-09-03                 45.06               125.17
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  33027   0001-01-01                177.84                592.8
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  15528   2020-01-03                44.412               123.36
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  25433   2020-10-05                45.264               125.74
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  27490   2020-11-10                45.264               125.74
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  24683   2020-09-03                 45.26               125.74
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  27488   2020-11-10               213.408                592.8
            3676   2018-07-07               7064                774   Farid                 Yaghoubtil                  27489   2020-11-10               329.688                915.8
            3677   2019-07-01               7066                794   Nicholas              Lasso                       15830   2019-08-02                42.912                119.2
            3677   2019-07-01               7066                794   Nicholas              Lasso                       15821   2019-11-04               -42.912               -119.2
            3677   2019-07-01               7066                794   Nicholas              Lasso                       15823   2019-10-01                41.232               114.52
            3677   2019-07-01               7066                794   Nicholas              Lasso                       15824   2019-11-04               -41.232              -114.52
            3677   2019-07-01               7066                794   Nicholas              Lasso                       15827   2019-10-01                42.912                119.2
            3677   2019-07-01               7066                794   Nicholas              Lasso                       15829   2019-08-02                41.772               116.04
            3677   2019-07-01               7066                794   Nicholas              Lasso                       15826   2019-11-04                42.912                119.2
            3677   2019-07-01               7066                794   Nicholas              Lasso                       15835   2019-09-03                41.448               115.12
            3677   2019-07-01               7066                794   Nicholas              Lasso                       15825   2019-11-04                41.232               114.52
            3677   2019-07-01               7066                794   Nicholas              Lasso                       15834   2019-10-01                41.232               114.52
            3677   2019-07-01               7066                794   Nicholas              Lasso                       15832   2019-09-03                42.912                119.2
            3678   2019-02-08               7068                794   Nicholas              Lasso                       15869   2019-07-03                 41.88               116.32
            3678   2019-02-08               7068                794   Nicholas              Lasso                       15851   2019-09-03                41.976                116.6
            3678   2019-02-08               7068                794   Nicholas              Lasso                       15860   2019-07-03                44.688               124.12
            3678   2019-02-08               7068                794   Nicholas              Lasso                       15849   2019-10-01                 41.88               116.32
            3678   2019-02-08               7068                794   Nicholas              Lasso                       15855   2019-10-01                 41.88               116.32
            3678   2019-02-08               7068                794   Nicholas              Lasso                       15858   2019-10-01                44.688               124.12
            3678   2019-02-08               7068                794   Nicholas              Lasso                       15866   2019-08-02                 41.88               116.32
            3678   2019-02-08               7068                794   Nicholas              Lasso                       15853   2019-09-03                44.688               124.12
            3678   2019-02-08               7068                794   Nicholas              Lasso                       15862   2019-07-03                41.976                116.6
            3678   2019-02-08               7068                794   Nicholas              Lasso                       15856   2019-10-01                41.976                116.6
            3678   2019-02-08               7068                794   Nicholas              Lasso                       15864   2019-07-03                44.688               124.12
            3678   2019-02-08               7068                794   Nicholas              Lasso                       15868   2019-08-02                41.976                116.6
            3682   2019-04-22               7076                617   Christopher           Henderson                   15889   2019-09-03                41.748               115.96
            3682   2019-04-22               7076                617   Christopher           Henderson                   15890   2019-09-03                41.736               115.92
            3682   2019-04-22               7076                617   Christopher           Henderson                   15891   2019-09-03                43.296               120.28
            3682   2019-04-22               7076                617   Christopher           Henderson                   15887   2019-09-03                41.616                115.6
            3682   2019-04-22               7076                617   Christopher           Henderson                   15888   2019-09-03                 41.88               116.32
            3685   2019-03-07               7082                806   John                  Beals                       16817   2019-10-01                43.008               119.48
            3685   2019-03-07               7082                806   John                  Beals                       24917   2020-09-03                 45.94                127.6
            3685   2019-03-07               7082                806   John                  Beals                       28346   2021-01-07                43.008               119.48
            3685   2019-03-07               7082                806   John                  Beals                       29234   2021-03-08                43.285               131.18
            3685   2019-03-07               7082                806   John                  Beals                       29638   2021-04-02                45.936                127.6
            3685   2019-03-07               7082                806   John                  Beals                       17754   2020-04-03                45.936                127.6
            3685   2019-03-07               7082                806   John                  Beals                       28757   2021-02-03                 47.22               131.18
            3685   2019-03-07               7082                806   John                  Beals                       32403   2021-08-04                 47.22               131.18




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                                                                                                                                                           8,185 $      26,723,966.62
PatientID          IncidentDate   ClaimId          AttorneyID         AttorneyFirstName      AttorneyLastName   BillId           PaidDate      BillCost          BillGFB
            3685   2019-03-07               7082                806   John                   Beals                       16818   2019-10-01                42.564               118.24
            3685   2019-03-07               7082                806   John                   Beals                       24463   2020-08-05                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       24919   2020-09-03                 43.01               119.48
            3685   2019-03-07               7082                806   John                   Beals                       18062   2020-05-05                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       24531   2020-08-05                 47.22               131.18
            3685   2019-03-07               7082                806   John                   Beals                       24918   2020-09-03                 47.22               131.18
            3685   2019-03-07               7082                806   John                   Beals                       30178   2021-05-03                 47.22               131.18
            3685   2019-03-07               7082                806   John                   Beals                       18063   2020-05-05                 47.22               131.18
            3685   2019-03-07               7082                806   John                   Beals                       28347   2021-01-07                45.936                127.6
            3685   2019-03-07               7082                806   John                   Beals                       28756   2021-02-03                45.936                127.6
            3685   2019-03-07               7082                806   John                   Beals                       32028   2021-07-06                 47.22               131.18
            3685   2019-03-07               7082                806   John                   Beals                       17088   2020-03-04                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       17457   2020-04-03                 47.22               131.18
            3685   2019-03-07               7082                806   John                   Beals                       23233   2020-07-02                45.936                127.6
            3685   2019-03-07               7082                806   John                   Beals                       27155   2020-11-10                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       28755   2021-02-03                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       31447   2021-06-03                45.936                127.6
            3685   2019-03-07               7082                806   John                   Beals                       32401   2021-08-04                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       32402   2021-08-04                45.936                127.6
            3685   2019-03-07               7082                806   John                   Beals                       15842   2020-01-03                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       16824   2019-11-04                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       17087   2020-03-04                 47.22               131.18
            3685   2019-03-07               7082                806   John                   Beals                       16823   2019-11-04                 43.26               120.16
            3685   2019-03-07               7082                806   John                   Beals                       29235   2021-03-08                45.936                127.6
            3685   2019-03-07               7082                806   John                   Beals                       29236   2021-03-08                39.424               119.48
            3685   2019-03-07               7082                806   John                   Beals                       31448   2021-06-03                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       33022   0001-01-01                 38.28                127.6
            3685   2019-03-07               7082                806   John                   Beals                       16813   2020-02-04                 47.22               131.18
            3685   2019-03-07               7082                806   John                   Beals                       16814   2020-02-04                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       19781   2020-06-01                45.936                127.6
            3685   2019-03-07               7082                806   John                   Beals                       24532   2020-08-05                 45.94                127.6
            3685   2019-03-07               7082                806   John                   Beals                       16822   2019-12-03                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       23232   2020-07-02                 47.22               131.18
            3685   2019-03-07               7082                806   John                   Beals                       27800   2020-12-02                 47.22               131.18
            3685   2019-03-07               7082                806   John                   Beals                       32026   2021-07-06                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       16821   2019-11-04                42.564               118.24
            3685   2019-03-07               7082                806   John                   Beals                       19779   2020-06-01                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       30179   2021-05-03                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       31446   2021-06-03                 47.22               131.18
            3685   2019-03-07               7082                806   John                   Beals                       32710   2021-08-24                45.936                127.6
            3685   2019-03-07               7082                806   John                   Beals                       17166   2020-03-04                45.936                127.6
            3685   2019-03-07               7082                806   John                   Beals                       18181   2020-05-05                45.936                127.6
            3685   2019-03-07               7082                806   John                   Beals                       27154   2020-11-10                 47.22               131.18
            3685   2019-03-07               7082                806   John                   Beals                       27799   2020-12-02                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       28452   2021-01-07                 47.22               131.18
            3685   2019-03-07               7082                806   John                   Beals                       29636   2021-04-02                 47.22               131.18
            3685   2019-03-07               7082                806   John                   Beals                       33023   0001-01-01                 39.35               131.18
            3685   2019-03-07               7082                806   John                   Beals                       15846   2020-01-03                29.748                82.64
            3685   2019-03-07               7082                806   John                   Beals                       19780   2020-06-01                 47.22               131.18
            3685   2019-03-07               7082                806   John                   Beals                       27798   2020-12-02                45.936                127.6
            3685   2019-03-07               7082                806   John                   Beals                       30180   2021-05-03                45.936                127.6
            3685   2019-03-07               7082                806   John                   Beals                       16815   2020-01-03                 28.98                 80.5
            3685   2019-03-07               7082                806   John                   Beals                       17456   2020-04-03                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       23234   2020-07-02                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       27156   2020-11-10                45.936                127.6
            3685   2019-03-07               7082                806   John                   Beals                       29637   2021-04-02                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       32027   2021-07-06                45.936                127.6
            3685   2019-03-07               7082                806   John                   Beals                       33024   0001-01-01                 35.84               119.48
            3685   2019-03-07               7082                806   John                   Beals                       15844   2019-12-03                 28.98                 80.5
            3685   2019-03-07               7082                806   John                   Beals                       15845   2019-12-03                 28.74                79.83
            3685   2019-03-07               7082                806   John                   Beals                       16819   2019-10-01                 43.26               120.16
            3685   2019-03-07               7082                806   John                   Beals                       16826   2020-02-04                45.936                127.6
            3685   2019-03-07               7082                806   John                   Beals                       32708   2021-08-24                43.008               119.48
            3685   2019-03-07               7082                806   John                   Beals                       32709   2021-08-24                 47.22               131.18
            3686   2019-08-10               7084                394   Justin                 Weinrich                    24678   2020-09-03                 48.91               135.85
            3686   2019-08-10               7084                394   Justin                 Weinrich                    25005   2020-09-03                 29.86                82.95
            3686   2019-08-10               7084                394   Justin                 Weinrich                    27013   2020-11-10                52.668                146.3
            3686   2019-08-10               7084                394   Justin                 Weinrich                    27158   2020-11-10                 32.28                89.68
            3686   2019-08-10               7084                394   Justin                 Weinrich                    27483   2020-11-10                52.668                146.3
            3686   2019-08-10               7084                394   Justin                 Weinrich                    29238   2021-03-08                31.801                96.37
            3686   2019-08-10               7084                394   Justin                 Weinrich                    30655   2021-05-03                26.316                73.11
            3686   2019-08-10               7084                394   Justin                 Weinrich                    31219   2021-06-03               110.688               307.46
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32536   2021-08-04                34.692                96.37
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32537   2021-08-04               110.688               307.46
            3686   2019-08-10               7084                394   Justin                 Weinrich                    24922   2020-09-03                 55.24               153.43
            3686   2019-08-10               7084                394   Justin                 Weinrich                    25068   2020-10-05                60.492               168.04
            3686   2019-08-10               7084                394   Justin                 Weinrich                    27012   2020-11-10               163.572               454.37
            3686   2019-08-10               7084                394   Justin                 Weinrich                    28014   2021-01-07               139.536                387.6
            3686   2019-08-10               7084                394   Justin                 Weinrich                    28349   2021-01-07                52.668                146.3
            3686   2019-08-10               7084                394   Justin                 Weinrich                    29639   2021-04-02                34.692                96.37
            3686   2019-08-10               7084                394   Justin                 Weinrich                    29973   2021-05-03               110.688               307.46
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32711   2021-08-24                30.996                86.11
            3686   2019-08-10               7084                394   Justin                 Weinrich                    25069   2020-10-05                52.668                146.3
            3686   2019-08-10               7084                394   Justin                 Weinrich                    28015   2021-01-07                57.456                159.6
            3686   2019-08-10               7084                394   Justin                 Weinrich                    29849   2021-05-03                26.316                73.11
            3686   2019-08-10               7084                394   Justin                 Weinrich                    30182   2021-05-03                34.692                96.37
            3686   2019-08-10               7084                394   Justin                 Weinrich                    33025   0001-01-01                 25.83                86.11
            3686   2019-08-10               7084                394   Justin                 Weinrich                    25004   2020-09-03                 60.49               168.04
            3686   2019-08-10               7084                394   Justin                 Weinrich                    28959   2021-02-03                57.456                159.6
            3686   2019-08-10               7084                394   Justin                 Weinrich                    29775   2021-04-02                 47.88                 133
            3686   2019-08-10               7084                394   Justin                 Weinrich                    31428   2021-06-03                 48.48               134.67




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                                                                               Tecumseh Owned Receivables




                                                                                                                                                           8,185 $       26,723,966.62
PatientID          IncidentDate   ClaimId          AttorneyID         AttorneyFirstName      AttorneyLastName   BillId           PaidDate      BillCost           BillGFB
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32586   2021-08-10                 48.48                134.67
            3686   2019-08-10               7084                394   Justin                 Weinrich                    16779   2019-11-04                46.572                129.38
            3686   2019-08-10               7084                394   Justin                 Weinrich                    25237   2020-10-05                60.492                168.04
            3686   2019-08-10               7084                394   Justin                 Weinrich                    25316   2020-10-05               144.504                401.39
            3686   2019-08-10               7084                394   Justin                 Weinrich                    29237   2021-03-08                65.252                197.74
            3686   2019-08-10               7084                394   Justin                 Weinrich                    29575   2021-04-02                52.668                 146.3
            3686   2019-08-10               7084                394   Justin                 Weinrich                    16770   2019-12-03                53.352                148.21
            3686   2019-08-10               7084                394   Justin                 Weinrich                    16778   2019-11-04                53.736                149.26
            3686   2019-08-10               7084                394   Justin                 Weinrich                    24823   2020-09-03                 60.49                168.04
            3686   2019-08-10               7084                394   Justin                 Weinrich                    24924   2020-09-03                181.18                503.27
            3686   2019-08-10               7084                394   Justin                 Weinrich                    28960   2021-02-03                52.668                 146.3
            3686   2019-08-10               7084                394   Justin                 Weinrich                    29850   2021-05-03                48.912                135.85
            3686   2019-08-10               7084                394   Justin                 Weinrich                    29974   2021-05-03                73.224                203.41
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32672   2021-08-17                 23.34                 64.83
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32897   2021-08-30                 83.76                232.67
            3686   2019-08-10               7084                394   Justin                 Weinrich                    29576   2021-04-02                73.224                203.41
            3686   2019-08-10               7084                394   Justin                 Weinrich                    30602   2021-05-03                48.912                135.85
            3686   2019-08-10               7084                394   Justin                 Weinrich                    30603   2021-05-03                75.072                208.54
            3686   2019-08-10               7084                394   Justin                 Weinrich                    31452   2021-06-03                75.072                208.54
            3686   2019-08-10               7084                394   Justin                 Weinrich                    16769   2019-12-03                53.376                148.28
            3686   2019-08-10               7084                394   Justin                 Weinrich                    28230   2021-01-07               163.572                454.37
            3686   2019-08-10               7084                394   Justin                 Weinrich                    29574   2021-04-02               101.464                307.46
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32894   2021-08-30               124.572                346.03
            3686   2019-08-10               7084                394   Justin                 Weinrich                    16777   2019-11-04                53.376                148.28
            3686   2019-08-10               7084                394   Justin                 Weinrich                    16780   2019-11-04                 38.22                106.16
            3686   2019-08-10               7084                394   Justin                 Weinrich                    24679   2020-09-03                 40.84                113.43
            3686   2019-08-10               7084                394   Justin                 Weinrich                    24921   2020-09-03                 52.67                 146.3
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32587   2021-08-10                 47.88                  133
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32588   2021-08-10                 23.34                 64.83
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32893   2021-08-30               191.448                531.81
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32896   2021-08-30                  33.6                 93.33
            3686   2019-08-10               7084                394   Justin                 Weinrich                    16772   2020-01-03                53.352                148.21
            3686   2019-08-10               7084                394   Justin                 Weinrich                    25315   2020-10-05                29.856                 82.95
            3686   2019-08-10               7084                394   Justin                 Weinrich                    31220   2021-06-03                34.692                 96.37
            3686   2019-08-10               7084                394   Justin                 Weinrich                    16775   2019-11-04                53.352                148.21
            3686   2019-08-10               7084                394   Justin                 Weinrich                    25431   2020-10-05                52.668                 146.3
            3686   2019-08-10               7084                394   Justin                 Weinrich                    26623   2020-11-10                60.492                168.04
            3686   2019-08-10               7084                394   Justin                 Weinrich                    27802   2020-12-02                52.668                 146.3
            3686   2019-08-10               7084                394   Justin                 Weinrich                    28453   2021-01-07                 32.28                 89.68
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32029   2021-07-06                30.756                 85.42
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32712   2021-08-24                48.912                135.85
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32891   2021-08-30                 28.08                 78.01
            3686   2019-08-10               7084                394   Justin                 Weinrich                    31221   2021-06-03                48.912                135.85
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32713   2021-08-24                 23.34                 64.83
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32930   2021-09-07               262.776                729.94
            3686   2019-08-10               7084                394   Justin                 Weinrich                    24822   2020-09-03                 36.28                100.78
            3686   2019-08-10               7084                394   Justin                 Weinrich                    24923   2020-09-03                 144.5                401.39
            3686   2019-08-10               7084                394   Justin                 Weinrich                    25006   2020-09-03                 60.49                168.04
            3686   2019-08-10               7084                394   Justin                 Weinrich                    31713   2021-06-03                44.316                123.11
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32895   2021-08-30                34.572                 96.03
            3686   2019-08-10               7084                394   Justin                 Weinrich                    16773   2019-12-03                 38.22                106.16
            3686   2019-08-10               7084                394   Justin                 Weinrich                    24680   2020-09-03                 33.41                  92.8
            3686   2019-08-10               7084                394   Justin                 Weinrich                    25067   2020-10-05                34.308                  95.3
            3686   2019-08-10               7084                394   Justin                 Weinrich                    25238   2020-10-05               163.572                454.37
            3686   2019-08-10               7084                394   Justin                 Weinrich                    28231   2021-01-07                 47.88                  133
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32931   2021-09-07                48.912                135.85
            3686   2019-08-10               7084                394   Justin                 Weinrich                    25432   2020-10-05                 32.28                 89.68
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32585   2021-08-10                52.356                145.42
            3686   2019-08-10               7084                394   Justin                 Weinrich                    32892   2021-08-30                52.356                145.42
            3686   2019-08-10               7084                394   Justin                 Weinrich                    33026   0001-01-01                116.28                 387.6
            3688   2019-06-12               7088                769   Kevin                  Danesh                      15921   2019-10-28               -43.908               -121.96
            3688   2019-06-12               7088                769   Kevin                  Danesh                      15923   0001-01-01                43.908                121.96
            3688   2019-06-12               7088                769   Kevin                  Danesh                      24925   2020-09-03                 40.38                112.18
            3688   2019-06-12               7088                769   Kevin                  Danesh                      25007   2020-09-03                  34.3                 95.27
            3688   2019-06-12               7088                769   Kevin                  Danesh                      27359   2020-11-10                24.624                  68.4
            3688   2019-06-12               7088                769   Kevin                  Danesh                      15925   2019-10-01                43.908                121.96
            3689   2019-10-11               7090                777   Hamed                  Yazdanpanah                 24417   2020-08-05                36.912                102.52
            3689   2019-10-11               7090                777   Hamed                  Yazdanpanah                 24537   2020-08-05                 28.94                 80.41
            3689   2019-10-11               7090                777   Hamed                  Yazdanpanah                 24538   2020-08-05                 46.19                128.29
            3689   2019-10-11               7090                777   Hamed                  Yazdanpanah                 24536   2020-08-05                 27.25                  75.7
            3689   2019-10-11               7090                777   Hamed                  Yazdanpanah                 15742   2019-11-04                63.648                 176.8
            3689   2019-10-11               7090                777   Hamed                  Yazdanpanah                 15740   2019-12-03                63.648                 176.8
            3691   2018-10-06               7094                804   Frank                  Fasel                       17998   2020-05-05                 44.04                122.32
            3691   2018-10-06               7094                804   Frank                  Fasel                       15750   2019-10-01                41.988                116.64
            3691   2018-10-06               7094                804   Frank                  Fasel                       15744   2019-12-03                41.988                116.64
            3691   2018-10-06               7094                804   Frank                  Fasel                       15752   2019-11-04                31.248                 86.81
            3691   2018-10-06               7094                804   Frank                  Fasel                       29240   2021-03-08                22.407                 67.91
            3691   2018-10-06               7094                804   Frank                  Fasel                       16909   2020-03-04                45.156                125.44
            3691   2018-10-06               7094                804   Frank                  Fasel                       17372   2020-04-03                 44.04                122.32
            3691   2018-10-06               7094                804   Frank                  Fasel                       29580   2021-04-02                24.444                 67.91
            3691   2018-10-06               7094                804   Frank                  Fasel                       15746   2019-12-03                31.248                 86.81
            3691   2018-10-06               7094                804   Frank                  Fasel                       26802   2020-11-10                24.444                 67.91
            3691   2018-10-06               7094                804   Frank                  Fasel                       28606   2021-02-03                24.444                 67.91
            3691   2018-10-06               7094                804   Frank                  Fasel                       15745   2019-12-03                22.752                  63.2
            3691   2018-10-06               7094                804   Frank                  Fasel                       15748   2019-11-04                38.688                107.45
            3691   2018-10-06               7094                804   Frank                  Fasel                       24464   2020-08-05                24.444                 67.91
            3691   2018-10-06               7094                804   Frank                  Fasel                       15751   2019-11-04                41.988                116.64
            3691   2018-10-06               7094                804   Frank                  Fasel                       28017   2021-01-07                24.444                 67.91
            3691   2018-10-06               7094                804   Frank                  Fasel                       25240   2020-10-05                24.444                 67.91
            3692   2019-06-13               7096                794   Nicholas               Lasso                       15396   2020-02-04                45.156                125.44
            3692   2019-06-13               7096                794   Nicholas               Lasso                       16832   2020-02-04                21.624                 60.08




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PatientID          IncidentDate   ClaimId          AttorneyID         AttorneyFirstName      AttorneyLastName   BillId           PaidDate      BillCost          BillGFB
            3692   2019-06-13               7096                794   Nicholas               Lasso                       15398   2019-11-04                53.136                147.6
            3692   2019-06-13               7096                794   Nicholas               Lasso                       15400   2019-11-04                40.536               112.61
            3693   2019-04-08               7098                788   Timothy                Revero                      15650   0001-01-01                43.932               122.04
            3693   2019-04-08               7098                788   Timothy                Revero                      15654   2019-10-28               -43.932              -122.04
            3693   2019-04-08               7098                788   Timothy                Revero                      15661   2019-09-03                42.192                117.2
            3693   2019-04-08               7098                788   Timothy                Revero                      15656   2019-07-03                42.192                117.2
            3693   2019-04-08               7098                788   Timothy                Revero                      15646   2019-11-04                  43.2                 120
            3693   2019-04-08               7098                788   Timothy                Revero                      15659   2019-09-03                  43.2                 120
            3693   2019-04-08               7098                788   Timothy                Revero                      15657   2019-07-03                  43.2                 120
            3693   2019-04-08               7098                788   Timothy                Revero                      15660   2019-10-01                43.932               122.04
            3693   2019-04-08               7098                788   Timothy                Revero                      15648   2019-10-01                  43.2                 120
            3693   2019-04-08               7098                788   Timothy                Revero                      15652   2019-12-03                  43.2                 120
            3694   2018-09-10               7100                807   Brian                  Matlin                      15665   2020-02-04                50.976               141.59
            3694   2018-09-10               7100                807   Brian                  Matlin                      15663   2019-12-03                -54.12              -150.34
            3694   2018-09-10               7100                807   Brian                  Matlin                      15667   2019-11-04                 54.12               150.34
            3694   2018-09-10               7100                807   Brian                  Matlin                      18192   2020-05-05                32.244                89.56
            3694   2018-09-10               7100                807   Brian                  Matlin                      15668   2019-11-04                36.048               100.14
            3695   2019-06-07               7102                794   Nicholas               Lasso                       15945   2019-11-04                43.296               120.28
            3695   2019-06-07               7102                794   Nicholas               Lasso                       15944   2019-11-04                56.376                156.6
            3695   2019-06-07               7102                794   Nicholas               Lasso                       15942   2019-10-01                43.296               120.28
            3695   2019-06-07               7102                794   Nicholas               Lasso                       15948   2019-09-03                47.748               132.64
            3695   2019-06-07               7102                794   Nicholas               Lasso                       15950   2019-07-03                41.772               116.04
            3695   2019-06-07               7102                794   Nicholas               Lasso                       29025   0001-01-01                 34.84               116.12
            3695   2019-06-07               7102                794   Nicholas               Lasso                       15939   2019-10-01                41.808               116.12
            3695   2019-06-07               7102                794   Nicholas               Lasso                       15946   2019-10-01                43.296               120.28
            3695   2019-06-07               7102                794   Nicholas               Lasso                       15940   2019-10-01                47.748               132.64
            3695   2019-06-07               7102                794   Nicholas               Lasso                       15951   2019-07-03                42.384               117.72
            3695   2019-06-07               7102                794   Nicholas               Lasso                       15952   2019-10-01                41.808               116.12
            3695   2019-06-07               7102                794   Nicholas               Lasso                       15953   2019-10-01                47.748               132.64
            3695   2019-06-07               7102                794   Nicholas               Lasso                       15954   2019-09-03                41.808               116.12
            3696   2019-03-24               7104                794   Nicholas               Lasso                       15676   2019-11-04                50.916               141.42
            3696   2019-03-24               7104                794   Nicholas               Lasso                       15672   2019-12-03                44.412               123.36
            3696   2019-03-24               7104                794   Nicholas               Lasso                       18001   2020-05-05                44.412               123.36
            3696   2019-03-24               7104                794   Nicholas               Lasso                       15679   2019-11-04                37.596               104.44
            3696   2019-03-24               7104                794   Nicholas               Lasso                       15678   2019-09-03                49.656               137.92
            3696   2019-03-24               7104                794   Nicholas               Lasso                       15680   2019-11-04                44.412               123.36
            3696   2019-03-24               7104                794   Nicholas               Lasso                       17618   2020-04-03                44.412               123.36
            3696   2019-03-24               7104                794   Nicholas               Lasso                       15674   2020-01-03                44.412               123.36
            3696   2019-03-24               7104                794   Nicholas               Lasso                       17100   2020-03-04                44.412               123.36
            3696   2019-03-24               7104                794   Nicholas               Lasso                       15670   2019-12-03                99.516               276.44
            3697   2019-08-15               7106                794   Nicholas               Lasso                       15365   2019-10-01                43.548               120.96
            3697   2019-08-15               7106                794   Nicholas               Lasso                       15355   2019-12-03                55.368               153.79
            3697   2019-08-15               7106                794   Nicholas               Lasso                       17081   2020-03-04                55.368               153.79
            3697   2019-08-15               7106                794   Nicholas               Lasso                       15360   2020-02-04                29.988                 83.3
            3697   2019-08-15               7106                794   Nicholas               Lasso                       15362   2020-01-03                55.368               153.79
            3697   2019-08-15               7106                794   Nicholas               Lasso                       15369   2019-11-04                43.656               121.28
            3697   2019-08-15               7106                794   Nicholas               Lasso                       29027   0001-01-01                 55.37               153.79
            3697   2019-08-15               7106                794   Nicholas               Lasso                       15356   2019-12-03                43.656               121.28
            3697   2019-08-15               7106                794   Nicholas               Lasso                       15368   2019-10-01                43.824               121.72
            3697   2019-08-15               7106                794   Nicholas               Lasso                       15366   2019-10-01                42.252               117.36
            3697   2019-08-15               7106                794   Nicholas               Lasso                       15358   2019-11-04                55.368               153.79
            3697   2019-08-15               7106                794   Nicholas               Lasso                       15371   2019-10-01                43.548               120.96
            3697   2019-08-15               7106                794   Nicholas               Lasso                       15372   2019-10-01                43.656               121.28
            3697   2019-08-15               7106                794   Nicholas               Lasso                       17082   2020-03-04                29.988                 83.3
            3697   2019-08-15               7106                794   Nicholas               Lasso                       15363   2020-01-03                29.988                 83.3
            3700   2019-03-07               7112                806   John                   Beals                       15962   2019-10-01               515.676             1432.44
            3701   2019-05-26               7114                779   Arash                  Khorsandi                   15966   2019-10-01                41.772               116.04
            3701   2019-05-26               7114                779   Arash                  Khorsandi                   15964   2019-11-04                54.672               151.85
            3701   2019-05-26               7114                779   Arash                  Khorsandi                   17020   2020-03-04                44.448               123.46
            3701   2019-05-26               7114                779   Arash                  Khorsandi                   18184   2020-05-05               119.832               332.85
            3702   2019-06-14               7116                794   Nicholas               Lasso                       15559   2019-10-01                41.568               115.48
            3702   2019-06-14               7116                794   Nicholas               Lasso                       24465   2020-08-05                46.632               129.54
            3702   2019-06-14               7116                794   Nicholas               Lasso                       15549   2020-01-03                42.816               118.92
            3702   2019-06-14               7116                794   Nicholas               Lasso                       15545   2019-12-03                42.816               118.92
            3702   2019-06-14               7116                794   Nicholas               Lasso                       17757   2020-04-03                42.816               118.92
            3702   2019-06-14               7116                794   Nicholas               Lasso                       15562   2019-10-01                42.816               118.92
            3702   2019-06-14               7116                794   Nicholas               Lasso                       24827   2020-09-03                 46.63               129.54
            3702   2019-06-14               7116                794   Nicholas               Lasso                       15547   2020-02-04                33.108                91.97
            3702   2019-06-14               7116                794   Nicholas               Lasso                       15551   2019-11-04                42.816               118.92
            3702   2019-06-14               7116                794   Nicholas               Lasso                       15553   2019-10-01                41.568               115.48
            3702   2019-06-14               7116                794   Nicholas               Lasso                       26628   2020-11-10                46.632               129.54
            3702   2019-06-14               7116                794   Nicholas               Lasso                       15555   2019-09-03                 41.76                 116
            3702   2019-06-14               7116                794   Nicholas               Lasso                       15548   2020-02-04                42.816               118.92
            3702   2019-06-14               7116                794   Nicholas               Lasso                       24684   2020-09-03                 42.82               118.92
            3702   2019-06-14               7116                794   Nicholas               Lasso                       15557   2019-08-02                42.816               118.92
            3702   2019-06-14               7116                794   Nicholas               Lasso                       15541   2020-01-03                33.108                91.97
            3702   2019-06-14               7116                794   Nicholas               Lasso                       15543   2019-12-03                33.108                91.97
            3702   2019-06-14               7116                794   Nicholas               Lasso                       15561   2019-10-01                 41.88               116.32
            3702   2019-06-14               7116                794   Nicholas               Lasso                       17758   2020-04-03                33.108                91.97
            3703   2019-06-29               7118                899   David                  Menocal                     15968   2019-10-01                 42.84                 119
            3703   2019-06-29               7118                899   David                  Menocal                     15970   2019-10-01                  43.2                 120
            3703   2019-06-29               7118                899   David                  Menocal                     15975   2019-08-02                 41.52               115.32
            3703   2019-06-29               7118                899   David                  Menocal                     16911   2020-03-04                21.624                60.08
            3703   2019-06-29               7118                899   David                  Menocal                     17300   2020-03-04                52.128               144.79
            3703   2019-06-29               7118                899   David                  Menocal                     17174   2020-03-04                 42.84                 119
            3703   2019-06-29               7118                899   David                  Menocal                     18129   2020-05-05                84.552               234.88
            3703   2019-06-29               7118                899   David                  Menocal                     15972   2019-10-01                41.784               116.08
            3703   2019-06-29               7118                899   David                  Menocal                     17099   2020-03-04                 19.56                54.33
            3703   2019-06-29               7118                899   David                  Menocal                     15977   2019-09-03                  43.2                 120
            3703   2019-06-29               7118                899   David                  Menocal                     16912   2020-03-04                45.468               126.31
            3703   2019-06-29               7118                899   David                  Menocal                     18128   2020-05-05               126.648                351.8




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                                                                                                                                                            8,185 $       26,723,966.62
PatientID          IncidentDate   ClaimId          AttorneyID          AttorneyFirstName      AttorneyLastName   BillId           PaidDate      BillCost           BillGFB
            3703   2019-06-29               7118                 899   David                  Menocal                     15974   2019-08-02                  43.2                  120
            3703   2019-06-29               7118                 899   David                  Menocal                     17374   2020-04-03                 58.08                161.32
            3703   2019-06-29               7118                 899   David                  Menocal                     16913   2020-03-04                43.884                 121.9
            3704   2019-09-10               7120                 808   Mark                   Jackson                     15979   2019-10-01                  41.7                115.84
            3704   2019-09-10               7120                 808   Mark                   Jackson                     18979   2020-06-01                38.796                107.76
            3704   2019-09-10               7120                 808   Mark                   Jackson                     15981   2019-10-01                44.292                123.04
            3704   2019-09-10               7120                 808   Mark                   Jackson                     15982   2019-10-01                41.928                116.48
            3706   2019-09-12               7124                 793   Morgan                 Fashchti                    18131   2020-05-05                 32.52                 90.33
            3706   2019-09-12               7124                 793   Morgan                 Fashchti                    15998   2019-12-03                99.516                276.44
            3706   2019-09-12               7124                 793   Morgan                 Fashchti                    16000   2019-10-01                 94.74                263.16
            3706   2019-09-12               7124                 793   Morgan                 Fashchti                    17102   2020-03-04                99.516                276.44
            3708   2019-03-29               7128                 794   Nicholas               Lasso                       16056   2019-04-30                 58.62                162.82
            3708   2019-03-29               7128                 794   Nicholas               Lasso                       16057   2019-04-30                55.524                154.24
            3709   2019-03-09               7130                 617   Christopher            Henderson                   16071   2019-04-30                39.192                108.85
            3709   2019-03-09               7130                 617   Christopher            Henderson                   16063   2019-06-03                39.552                109.86
            3709   2019-03-09               7130                 617   Christopher            Henderson                   16066   2019-04-30                 43.92                121.99
            3709   2019-03-09               7130                 617   Christopher            Henderson                   16064   2019-06-03                39.624                110.06
            3709   2019-03-09               7130                 617   Christopher            Henderson                   16070   2019-04-30                 40.44                112.32
            3709   2019-03-09               7130                 617   Christopher            Henderson                   16068   2019-04-30                38.112                105.88
            3709   2019-03-09               7130                 617   Christopher            Henderson                   16069   2019-04-30                  39.3                109.16
            3709   2019-03-09               7130                 617   Christopher            Henderson                   16061   2019-04-30                38.796                107.76
            3709   2019-03-09               7130                 617   Christopher            Henderson                   16059   2019-04-30                38.184                106.08
            3710   2018-12-27               7132                 794   Nicholas               Lasso                       16073   2019-04-30                55.524                154.24
            3710   2018-12-27               7132                 794   Nicholas               Lasso                       16074   2019-04-30                64.632                179.52
            3713   2019-03-26               7138                 617   Christopher            Henderson                   16005   2019-04-02                38.472                106.86
            3713   2019-03-26               7138                 617   Christopher            Henderson                   16006   2019-04-02                38.064                105.73
            3716   2019-02-21               7144                 795   Richard                Harris                      16029   2019-04-02                38.184                106.08
            3716   2019-02-21               7144                 795   Richard                Harris                      16030   2019-04-02                42.264                117.39
            3716   2019-02-21               7144                 795   Richard                Harris                      16032   2019-04-02                49.992                138.88
            3717   2019-03-23               7146                 794   Nicholas               Lasso                       16039   2019-04-30                37.968                105.46
            3717   2019-03-23               7146                 794   Nicholas               Lasso                       16044   2019-04-02                38.016                105.61
            3717   2019-03-23               7146                 794   Nicholas               Lasso                       16041   2019-06-03                67.032                186.19
            3717   2019-03-23               7146                 794   Nicholas               Lasso                       16043   2019-04-02                 37.98                 105.5
            3720   2019-04-03               7152                 795   Richard                Harris                      17471   2020-04-03                 45.24                125.67
            3720   2019-04-03               7152                 795   Richard                Harris                      16082   2019-07-03                42.252                117.36
            3720   2019-04-03               7152                 795   Richard                Harris                      16084   2019-07-03                 41.88                116.32
            3720   2019-04-03               7152                 795   Richard                Harris                      16088   2019-06-03                44.184                122.72
            3720   2019-04-03               7152                 795   Richard                Harris                      17472   2020-04-03                82.836                230.11
            3720   2019-04-03               7152                 795   Richard                Harris                      18077   2020-05-05                 45.24                125.67
            3720   2019-04-03               7152                 795   Richard                Harris                      16087   2019-04-30                40.536                112.59
            3720   2019-04-03               7152                 795   Richard                Harris                      18135   2020-05-05                46.056                127.95
            3720   2019-04-03               7152                 795   Richard                Harris                      18986   2020-06-01                 45.24                125.67
            3720   2019-04-03               7152                 795   Richard                Harris                      16080   2019-06-03                41.892                116.36
            3720   2019-04-03               7152                 795   Richard                Harris                      16086   2019-04-30                38.064                105.73
            3720   2019-04-03               7152                 795   Richard                Harris                      16273   2020-02-04                 45.24                125.67
            3720   2019-04-03               7152                 795   Richard                Harris                      16274   2020-02-04                46.056                127.95
            3720   2019-04-03               7152                 795   Richard                Harris                      17470   2020-04-03                46.056                127.95
            3722   2019-04-24               7156                 778   Omid                   Khorshidi                   15437   2020-01-03               181.836                505.09
            3722   2019-04-24               7156                 778   Omid                   Khorshidi                   15440   2019-06-03                42.036                116.76
            3722   2019-04-24               7156                 778   Omid                   Khorshidi                   15436   2020-01-03                 61.02                169.49
            3722   2019-04-24               7156                 778   Omid                   Khorshidi                   15438   2020-01-03                18.576                  51.6
            3722   2019-04-24               7156                 778   Omid                   Khorshidi                   15441   2020-01-03                20.664                  57.4
            3723   2018-07-03               7158                 774   Farid                  Yaghoubtil                  16097   2019-06-03                43.632                 121.2
            3723   2018-07-03               7158                 774   Farid                  Yaghoubtil                  16099   2019-07-03                44.268                122.96
            3723   2018-07-03               7158                 774   Farid                  Yaghoubtil                  16105   2019-06-03                 39.78                110.49
            3723   2018-07-03               7158                 774   Farid                  Yaghoubtil                  16107   2019-06-03                39.312                 109.2
            3723   2018-07-03               7158                 774   Farid                  Yaghoubtil                  16106   2019-06-03                50.844                141.22
            3723   2018-07-03               7158                 774   Farid                  Yaghoubtil                  16103   2019-06-03                  43.5                120.84
            3723   2018-07-03               7158                 774   Farid                  Yaghoubtil                  16101   2019-07-03                43.824                121.72
            3724   2019-03-03               7160                1046   Kristina               Weller                      16109   2019-06-03                43.212                120.04
            3725   2019-05-09               7162                 795   Richard                Harris                      16112   2019-07-03                 41.88                116.32
            3725   2019-05-09               7162                 795   Richard                Harris                      16114   2019-06-03                41.892                116.36
            3725   2019-05-09               7162                 795   Richard                Harris                      16111   2019-07-03                42.168                117.12
            3725   2019-05-09               7162                 795   Richard                Harris                      16115   2019-06-03                41.856                116.28
            3725   2019-05-09               7162                 795   Richard                Harris                      16116   2019-06-03                43.872                121.88
            3727   2019-05-05               7166                 794   Nicholas               Lasso                       16125   2019-06-03                 47.22                131.16
            3727   2019-05-05               7166                 794   Nicholas               Lasso                       16124   2019-06-03                44.196                122.76
            3727   2019-05-05               7166                 794   Nicholas               Lasso                       16126   2019-06-03                57.984                161.08
            3730   2019-04-02               7172                 794   Nicholas               Lasso                       16147   2019-04-30                  52.8                146.68
            3730   2019-04-02               7172                 794   Nicholas               Lasso                       16144   2019-10-01                42.096                116.92
            3730   2019-04-02               7172                 794   Nicholas               Lasso                       16150   2019-06-03                  51.3                142.51
            3730   2019-04-02               7172                 794   Nicholas               Lasso                       16148   2019-04-30                38.316                106.43
            3730   2019-04-02               7172                 794   Nicholas               Lasso                       16145   2019-10-01                 54.12                150.32
            3730   2019-04-02               7172                 794   Nicholas               Lasso                       16142   2019-07-03                42.096                116.92
            3734   2019-05-09               7180                 794   Nicholas               Lasso                       16163   2019-06-03                 40.38                112.16
            3734   2019-05-09               7180                 794   Nicholas               Lasso                       16162   2019-06-03                44.124                122.58
            3737   2019-04-09               7186                 794   Nicholas               Lasso                       16173   2019-04-30                37.488                104.13
            3737   2019-04-09               7186                 794   Nicholas               Lasso                       16170   2019-04-30                37.992                105.53
            3737   2019-04-09               7186                 794   Nicholas               Lasso                       16172   2019-04-30                38.088                105.81
            3737   2019-04-09               7186                 794   Nicholas               Lasso                       16174   2019-04-30                39.012                108.38
            3738   2019-04-10               7188                 794   Nicholas               Lasso                       16176   2019-04-30                45.648                126.79
            3742   2019-04-22               7196                 794   Nicholas               Lasso                       16197   2019-08-02                 42.42                117.84
            3743   2018-11-30               7198                 794   Nicholas               Lasso                       16209   2019-07-03                  43.2                  120
            3743   2018-11-30               7198                 794   Nicholas               Lasso                       16199   2019-08-02                48.108                133.64
            3743   2018-11-30               7198                 794   Nicholas               Lasso                       16206   2019-06-03                 37.68                104.68
            3743   2018-11-30               7198                 794   Nicholas               Lasso                       16210   2019-07-03                 42.06                116.84
            3743   2018-11-30               7198                 794   Nicholas               Lasso                       16204   2019-08-02                  43.2                  120
            3743   2018-11-30               7198                 794   Nicholas               Lasso                       16200   2019-08-02                42.072                116.88
            3743   2018-11-30               7198                 794   Nicholas               Lasso                       16207   2019-06-03                38.508                106.98
            3743   2018-11-30               7198                 794   Nicholas               Lasso                       16202   2019-10-01                  43.2                  120
            3744   2019-06-07               7200                 794   Nicholas               Lasso                       16215   2019-08-02                  43.2                  120




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                                                                                                                                                           8,185 $      26,723,966.62
PatientID          IncidentDate   ClaimId          AttorneyID         AttorneyFirstName      AttorneyLastName   BillId           PaidDate      BillCost          BillGFB
            3744   2019-06-07               7200                794   Nicholas               Lasso                       16214   2019-09-03                42.636               118.44
            3744   2019-06-07               7200                794   Nicholas               Lasso                       21265   2020-07-02                 65.28               181.32
            3744   2019-06-07               7200                794   Nicholas               Lasso                       16212   2019-08-02                42.636               118.44
            3744   2019-06-07               7200                794   Nicholas               Lasso                       21264   2020-07-02                27.588                76.63
            3744   2019-06-07               7200                794   Nicholas               Lasso                       16217   2019-07-03                 42.06               116.84
            3744   2019-06-07               7200                794   Nicholas               Lasso                       16218   2019-07-03                  43.2                 120
            3745   2019-07-03               7202                809   Mauro                  Fiore Jr                    15281   2020-01-03                42.108               116.96
            3745   2019-07-03               7202                809   Mauro                  Fiore Jr                    15285   2019-08-02                42.108               116.96
            3745   2019-07-03               7202                809   Mauro                  Fiore Jr                    15286   2019-08-02                 41.82               116.16
            3745   2019-07-03               7202                809   Mauro                  Fiore Jr                    15283   2020-01-03                20.304                 56.4
            3745   2019-07-03               7202                809   Mauro                  Fiore Jr                    15288   2019-09-03                42.168               117.12
            3745   2019-07-03               7202                809   Mauro                  Fiore Jr                    15290   2019-11-04                 41.82               116.16
            3745   2019-07-03               7202                809   Mauro                  Fiore Jr                    15278   2020-01-03                 41.82               116.16
            3745   2019-07-03               7202                809   Mauro                  Fiore Jr                    15280   2019-12-03                42.108               116.96
            3745   2019-07-03               7202                809   Mauro                  Fiore Jr                    15291   2019-09-03                 42.42               117.84
            3745   2019-07-03               7202                809   Mauro                  Fiore Jr                    15282   2020-01-03                78.324               217.58
            3746   2019-07-08               7204                803   D.Hess                 Panah                       16220   2019-08-02                41.832                116.2
            3746   2019-07-08               7204                803   D.Hess                 Panah                       16222   2019-08-02                41.448               115.12
            3747   2019-07-04               7206                777   Hamed                  Yazdanpanah                 16224   2019-08-02                41.424               115.08
            3747   2019-07-04               7206                777   Hamed                  Yazdanpanah                 16226   2019-08-02                41.592               115.52
            3747   2019-07-04               7206                777   Hamed                  Yazdanpanah                 16225   2019-08-02                41.748               115.96
            3748   2019-05-28               7208                774   Farid                  Yaghoubtil                  16228   2019-08-02                 41.82               116.16
            3751   2019-07-06               7214                788   Timothy                Revero                      16237   2019-08-02                42.768                118.8
            3751   2019-07-06               7214                788   Timothy                Revero                      16238   2019-08-02                42.216               117.28
            3752   2019-02-28               7216                794   Nicholas               Lasso                       16240   2019-11-04                37.752               104.87
            3752   2019-02-28               7216                794   Nicholas               Lasso                       16256   2019-10-01                44.328               123.12
            3752   2019-02-28               7216                794   Nicholas               Lasso                       16242   2019-11-04                44.328               123.12
            3752   2019-02-28               7216                794   Nicholas               Lasso                       16250   2019-07-03                44.328               123.12
            3752   2019-02-28               7216                794   Nicholas               Lasso                       16254   2019-07-03                43.032               119.52
            3752   2019-02-28               7216                794   Nicholas               Lasso                       16258   2019-09-03                44.328               123.12
            3752   2019-02-28               7216                794   Nicholas               Lasso                       16244   2020-02-04                53.136                147.6
            3752   2019-02-28               7216                794   Nicholas               Lasso                       16252   2019-07-03                44.328               123.12
            3752   2019-02-28               7216                794   Nicholas               Lasso                       29028   0001-01-01                 60.79               168.85
            3752   2019-02-28               7216                794   Nicholas               Lasso                       16248   2019-12-03                44.328               123.12
            3752   2019-02-28               7216                794   Nicholas               Lasso                       29029   0001-01-01                 37.75               104.87
            3752   2019-02-28               7216                794   Nicholas               Lasso                       16241   2019-11-04                53.136                147.6
            3752   2019-02-28               7216                794   Nicholas               Lasso                       16260   2019-08-02                44.328               123.12
            3752   2019-02-28               7216                794   Nicholas               Lasso                       16246   2020-01-03                44.328               123.12
            3753   2019-07-26               7218                794   Nicholas               Lasso                       25423   2020-10-05                47.004               130.56
            3753   2019-07-26               7218                794   Nicholas               Lasso                       21263   2020-07-02                47.004               130.56
            3753   2019-07-26               7218                794   Nicholas               Lasso                       15492   2020-01-03                47.004               130.56
            3753   2019-07-26               7218                794   Nicholas               Lasso                       17455   2020-04-03                47.004               130.56
            3753   2019-07-26               7218                794   Nicholas               Lasso                       19771   2020-06-01                47.004               130.56
            3753   2019-07-26               7218                794   Nicholas               Lasso                       15497   2019-10-01                47.004               130.56
            3753   2019-07-26               7218                794   Nicholas               Lasso                       15490   2019-12-03                47.004               130.56
            3753   2019-07-26               7218                794   Nicholas               Lasso                       15495   2019-09-03                  41.7               115.84
            3753   2019-07-26               7218                794   Nicholas               Lasso                       15494   2019-09-03                47.004               130.56
            3753   2019-07-26               7218                794   Nicholas               Lasso                       27349   2020-11-10                47.004               130.56
            3753   2019-07-26               7218                794   Nicholas               Lasso                       15488   2019-11-04                 53.58               148.82
            3753   2019-07-26               7218                794   Nicholas               Lasso                       18122   2020-05-05                47.004               130.56
            3754   2019-03-16               7220                794   Nicholas               Lasso                       16735   2019-10-01                 43.26               120.16
            3755   2019-07-24               7222                781   Kenneth                Klein                       15415   2019-12-03                61.512               170.86
            3755   2019-07-24               7222                781   Kenneth                Klein                       15417   2020-01-03                44.328               123.12
            3755   2019-07-24               7222                781   Kenneth                Klein                       15424   2019-10-01                 42.12                 117
            3755   2019-07-24               7222                781   Kenneth                Klein                       15421   2019-12-03                44.328               123.12
            3755   2019-07-24               7222                781   Kenneth                Klein                       15419   2020-01-03                21.888                 60.8
            3755   2019-07-24               7222                781   Kenneth                Klein                       15426   2019-11-04                44.328               123.12
            3755   2019-07-24               7222                781   Kenneth                Klein                       15423   2019-10-01                 41.46               115.16
            3756   2019-01-15               7224                803   D.Hess                 Panah                       16539   2019-11-04               -42.816              -118.92
            3756   2019-01-15               7224                803   D.Hess                 Panah                       16541   2019-10-01                42.816               118.92
            3756   2019-01-15               7224                803   D.Hess                 Panah                       16537   2019-11-04                42.816               118.92
            3757   2019-06-09               7226                794   Nicholas               Lasso                       15760   2019-12-03                58.116               161.44
            3757   2019-06-09               7226                794   Nicholas               Lasso                       15770   2019-09-03                41.784               116.08
            3757   2019-06-09               7226                794   Nicholas               Lasso                       15772   2019-09-03                58.116               161.44
            3757   2019-06-09               7226                794   Nicholas               Lasso                       15764   2019-07-03                  43.2                 120
            3757   2019-06-09               7226                794   Nicholas               Lasso                       15766   2019-07-03                 42.06               116.84
            3757   2019-06-09               7226                794   Nicholas               Lasso                       15759   2020-02-04                58.116               161.44
            3757   2019-06-09               7226                794   Nicholas               Lasso                       15768   2019-08-02                58.116               161.44
            3757   2019-06-09               7226                794   Nicholas               Lasso                       15755   2019-11-04                42.324               117.56
            3757   2019-06-09               7226                794   Nicholas               Lasso                       15754   2019-11-04                58.116               161.44
            3757   2019-06-09               7226                794   Nicholas               Lasso                       15757   2019-12-03                42.324               117.56
            3757   2019-06-09               7226                794   Nicholas               Lasso                       15762   2019-10-01                42.324               117.56
            3759   2019-08-29               7230                810   Matthew                Hoffman                     16507   2019-10-01                42.816               118.92
            3759   2019-08-29               7230                810   Matthew                Hoffman                     16508   2019-10-01                41.568               115.48
            3759   2019-08-29               7230                810   Matthew                Hoffman                     16504   2019-12-03                45.804               127.23
            3759   2019-08-29               7230                810   Matthew                Hoffman                     16505   2019-11-04                45.804               127.23
            3759   2019-08-29               7230                810   Matthew                Hoffman                     16502   2019-11-04                41.004                113.9
            3761   2019-08-15               7234                794   Nicholas               Lasso                       17007   2020-03-04                 44.34               123.16
            3761   2019-08-15               7234                794   Nicholas               Lasso                       17006   2020-03-04                49.272               136.87
            3761   2019-08-15               7234                794   Nicholas               Lasso                       16277   2019-09-03                41.892               116.36
            3761   2019-08-15               7234                794   Nicholas               Lasso                       16276   2019-09-03                 42.12                 117
            3762   2019-08-15               7236                794   Nicholas               Lasso                       16279   2019-09-03                41.892               116.36
            3762   2019-08-15               7236                794   Nicholas               Lasso                       16280   2019-09-03                 42.12                 117
            3763   2018-07-22               7238                774   Farid                  Yaghoubtil                  16305   2019-09-03                42.264                117.4
            3763   2018-07-22               7238                774   Farid                  Yaghoubtil                  16297   2019-09-03                41.424               115.08
            3763   2018-07-22               7238                774   Farid                  Yaghoubtil                  16300   2019-12-03                36.204               100.57
            3763   2018-07-22               7238                774   Farid                  Yaghoubtil                  16298   2019-09-03                42.264                117.4
            3763   2018-07-22               7238                774   Farid                  Yaghoubtil                  16302   2019-07-03                41.568               115.48
            3763   2018-07-22               7238                774   Farid                  Yaghoubtil                  16304   2019-09-03                41.424               115.08
            3764   2019-08-15               7240                811   HagopJ.                Bazerkanian                 16307   2019-09-03                50.592               140.52
            3764   2019-08-15               7240                811   HagopJ.                Bazerkanian                 16308   2019-09-03               102.384                284.4




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                                                                                                                                                            8,185 $      26,723,966.62
PatientID          IncidentDate   ClaimId          AttorneyID          AttorneyFirstName      AttorneyLastName   BillId           PaidDate      BillCost          BillGFB
            3765   2018-06-09               7242                 797   ShahabSean             Shamsi                      16314   2019-09-03                41.808               116.12
            3765   2018-06-09               7242                 797   ShahabSean             Shamsi                      16317   2019-11-04                41.976                116.6
            3765   2018-06-09               7242                 797   ShahabSean             Shamsi                      16323   2019-07-03                 41.52               115.32
            3765   2018-06-09               7242                 797   ShahabSean             Shamsi                      16327   2019-08-02                  41.7               115.84
            3765   2018-06-09               7242                 797   ShahabSean             Shamsi                      16318   2019-11-04                42.684               118.56
            3765   2018-06-09               7242                 797   ShahabSean             Shamsi                      16312   2019-10-01                  41.7               115.84
            3765   2018-06-09               7242                 797   ShahabSean             Shamsi                      16325   2019-09-03                  41.7               115.84
            3765   2018-06-09               7242                 797   ShahabSean             Shamsi                      16320   2019-08-02                41.808               116.12
            3765   2018-06-09               7242                 797   ShahabSean             Shamsi                      16326   2019-09-03                41.808               116.12
            3765   2018-06-09               7242                 797   ShahabSean             Shamsi                      16310   2019-10-01                41.808               116.12
            3765   2018-06-09               7242                 797   ShahabSean             Shamsi                      16316   2019-11-04                42.576               118.28
            3765   2018-06-09               7242                 797   ShahabSean             Shamsi                      16322   2019-07-03                 41.64               115.68
            3768   2019-04-24               7246                 794   Nicholas               Lasso                       16333   2019-09-03                42.096               116.92
            3768   2019-04-24               7246                 794   Nicholas               Lasso                       16332   2019-09-03                42.936               119.28
            3769   2019-04-24               7248                 794   Nicholas               Lasso                       16335   2019-09-03                42.936               119.28
            3769   2019-04-24               7248                 794   Nicholas               Lasso                       16336   2019-09-03                42.096               116.92
            3770   2019-08-03               7250                 794   Nicholas               Lasso                       16834   2020-02-04                43.848               120.18
            3770   2019-08-03               7250                 794   Nicholas               Lasso                       15688   2019-09-03                 42.42               117.84
            3770   2019-08-03               7250                 794   Nicholas               Lasso                       15682   2019-09-03                41.928               116.48
            3770   2019-08-03               7250                 794   Nicholas               Lasso                       15689   2019-09-03                41.808               116.12
            3770   2019-08-03               7250                 794   Nicholas               Lasso                       15687   2019-09-03                 43.56                 121
            3770   2019-08-03               7250                 794   Nicholas               Lasso                       15684   2019-12-03                 38.22               106.16
            3770   2019-08-03               7250                 794   Nicholas               Lasso                       15685   2019-12-03                53.244               147.89
            3771   2019-08-15               7254                 794   Nicholas               Lasso                       15592   2020-01-03                29.016                80.61
            3771   2019-08-15               7254                 794   Nicholas               Lasso                       15594   2019-09-03                47.172               131.04
            3772   2019-02-17               7256                 790   Burke                  Huber                       23229   2020-07-02                40.116               111.44
            3772   2019-02-17               7256                 790   Burke                  Huber                       16362   2019-07-03                41.568               115.48
            3772   2019-02-17               7256                 790   Burke                  Huber                       16369   2019-04-02                37.836                105.1
            3772   2019-02-17               7256                 790   Burke                  Huber                       16371   2019-06-03                37.764               104.91
            3772   2019-02-17               7256                 790   Burke                  Huber                       17293   2020-03-04                21.792                60.54
            3772   2019-02-17               7256                 790   Burke                  Huber                       27896   2020-12-02                50.616                140.6
            3772   2019-02-17               7256                 790   Burke                  Huber                       17292   2020-03-04                43.812               121.71
            3772   2019-02-17               7256                 790   Burke                  Huber                       16360   2019-07-03                41.568               115.48
            3772   2019-02-17               7256                 790   Burke                  Huber                       16364   2019-09-03                41.568               115.48
            3772   2019-02-17               7256                 790   Burke                  Huber                       16373   2019-04-30                41.808               116.14
            3772   2019-02-17               7256                 790   Burke                  Huber                       16368   2019-04-02                41.808               116.14
            3772   2019-02-17               7256                 790   Burke                  Huber                       16366   2019-08-02                41.568               115.48
            3773   2019-04-15               7258                 794   Nicholas               Lasso                       16667   2019-08-02                45.072                125.2
            3773   2019-04-15               7258                 794   Nicholas               Lasso                       16669   2019-04-30                39.864               110.72
            3773   2019-04-15               7258                 794   Nicholas               Lasso                       16670   2019-04-30                39.576               109.94
            3774   2019-06-28               7260                 794   Nicholas               Lasso                       16743   2019-08-02               173.952                483.2
            3775   2018-11-15               7262                 774   Farid                  Yaghoubtil                  16683   2019-09-03                43.068               119.64
            3775   2018-11-15               7262                 774   Farid                  Yaghoubtil                  16684   2019-09-03                42.636               118.44
            3775   2018-11-15               7262                 774   Farid                  Yaghoubtil                  16685   2019-08-02                42.636               118.44
            3775   2018-11-15               7262                 774   Farid                  Yaghoubtil                  16686   2019-08-02                41.448               115.12
            3775   2018-11-15               7262                 774   Farid                  Yaghoubtil                  16682   2019-08-02                42.816               118.92
            3775   2018-11-15               7262                 774   Farid                  Yaghoubtil                  16689   2019-08-02                44.436               123.44
            3775   2018-11-15               7262                 774   Farid                  Yaghoubtil                  16680   2019-09-03                42.816               118.92
            3775   2018-11-15               7262                 774   Farid                  Yaghoubtil                  16687   2019-08-02                  43.2                 120
            3775   2018-11-15               7262                 774   Farid                  Yaghoubtil                  16688   2019-08-02                43.068               119.64
            3776   2018-05-19               7264                 769   Kevin                  Danesh                      16432   2019-07-03                42.492               118.04
            3776   2018-05-19               7264                 769   Kevin                  Danesh                      17021   2020-03-04                41.244               114.56
            3776   2018-05-19               7264                 769   Kevin                  Danesh                      16429   2019-08-02                42.492               118.04
            3776   2018-05-19               7264                 769   Kevin                  Danesh                      16430   2019-08-02                41.244               114.56
            3776   2018-05-19               7264                 769   Kevin                  Danesh                      16433   2019-07-03                41.244               114.56
            3777   2018-10-27               7266                 774   Farid                  Yaghoubtil                  23826   2020-07-02                35.124                97.58
            3777   2018-10-27               7266                 774   Farid                  Yaghoubtil                  16475   2019-09-03                 42.18               117.16
            3777   2018-10-27               7266                 774   Farid                  Yaghoubtil                  16477   2019-08-02                 42.18               117.16
            3777   2018-10-27               7266                 774   Farid                  Yaghoubtil                  16478   2019-08-02                42.888               119.12
            3777   2018-10-27               7266                 774   Farid                  Yaghoubtil                  16471   2019-09-03                42.888               119.12
            3777   2018-10-27               7266                 774   Farid                  Yaghoubtil                  16473   2019-10-01                 42.18               117.16
            3779   2019-06-28               7270                 813   KristinH.              Cogburn                     16482   2019-08-02                42.192                117.2
            3779   2019-06-28               7270                 813   KristinH.              Cogburn                     16480   2019-09-03                41.448               115.12
            3779   2019-06-28               7270                 813   KristinH.              Cogburn                     16483   2019-08-02                  43.2                 120
            3780   2019-03-08               7272                 814   John                   Shook                       16560   2019-04-02                 39.66               110.18
            3780   2019-03-08               7272                 814   John                   Shook                       16561   2019-04-02                 37.44               104.01
            3780   2019-03-08               7272                 814   John                   Shook                       16559   2019-04-02                39.984               111.07
            3782   2019-06-17               7276                 794   Nicholas               Lasso                       16526   2019-07-03                41.736               115.92
            3782   2019-06-17               7276                 794   Nicholas               Lasso                       16524   2019-08-02                 42.96               119.32
            3783   2019-06-24               7278                 779   Arash                  Khorsandi                   16563   2019-08-02                41.808               116.12
            3784   2019-05-21               7280                 769   Kevin                  Danesh                      16545   2019-08-02                41.172               114.36
            3784   2019-05-21               7280                 769   Kevin                  Danesh                      16543   2019-11-04                41.172               114.36
            3785   2019-07-03               7282                 794   Nicholas               Lasso                       16566   2019-08-02                 43.56                 121
            3785   2019-07-03               7282                 794   Nicholas               Lasso                       16565   2019-08-02                42.552                118.2
            3786   2019-07-29               7284                2144   Michael                Shroge                      16568   2019-11-04                 42.42               117.84
            3786   2019-07-29               7284                2144   Michael                Shroge                      16574   2019-10-01                 42.42               117.84
            3786   2019-07-29               7284                2144   Michael                Shroge                      16570   2019-12-03                 43.56                 121
            3786   2019-07-29               7284                2144   Michael                Shroge                      16573   2019-10-01                 43.56                 121
            3786   2019-07-29               7284                2144   Michael                Shroge                      16571   2019-12-03                 42.42               117.84
            3786   2019-07-29               7284                2144   Michael                Shroge                      16575   2019-11-04                 43.56                 121
            3789   2019-06-03               7290                 816   Vahagn                 Koshkaryan                  15293   2020-01-03               -33.276               -92.43
            3789   2019-06-03               7290                 816   Vahagn                 Koshkaryan                  15295   2019-12-03                33.276                92.43
            3789   2019-06-03               7290                 816   Vahagn                 Koshkaryan                  15308   2019-12-03                18.864                 52.4
            3789   2019-06-03               7290                 816   Vahagn                 Koshkaryan                  15304   2019-10-01                 42.12                 117
            3789   2019-06-03               7290                 816   Vahagn                 Koshkaryan                  23954   2020-08-05                34.236                 95.1
            3789   2019-06-03               7290                 816   Vahagn                 Koshkaryan                  15297   2020-01-03                30.948                85.96
            3789   2019-06-03               7290                 816   Vahagn                 Koshkaryan                  15300   2020-02-04                18.864                 52.4
            3789   2019-06-03               7290                 816   Vahagn                 Koshkaryan                  15299   2020-02-04                22.392                62.21
            3789   2019-06-03               7290                 816   Vahagn                 Koshkaryan                  15303   2019-10-01                41.568               115.48
            3789   2019-06-03               7290                 816   Vahagn                 Koshkaryan                  23955   2020-08-05                 50.52               140.32
            3789   2019-06-03               7290                 816   Vahagn                 Koshkaryan                  15301   2019-12-03                 25.56                   71




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                                                                                                                                                            8,185 $       26,723,966.62
PatientID          IncidentDate   ClaimId          AttorneyID          AttorneyFirstName      AttorneyLastName   BillId           PaidDate      BillCost           BillGFB
            3789   2019-06-03               7290                 816   Vahagn                 Koshkaryan                  15306   2019-11-04                 42.12                  117
            3789   2019-06-03               7290                 816   Vahagn                 Koshkaryan                  15307   2019-12-03                 25.56                    71
            3789   2019-06-03               7290                 816   Vahagn                 Koshkaryan                  23956   2020-08-05                 47.34                131.51
            3790   2019-09-20               7292                 777   Hamed                  Yazdanpanah                 16597   2019-11-04                42.432                117.88
            3790   2019-09-20               7292                 777   Hamed                  Yazdanpanah                 16595   2019-11-04                42.348                117.64
            3790   2019-09-20               7292                 777   Hamed                  Yazdanpanah                 16596   2019-11-04                54.072                 150.2
            3791   2017-12-30               7294                 774   Farid                  Yaghoubtil                  16262   0001-01-01                 41.82                116.16
            3791   2017-12-30               7294                 774   Farid                  Yaghoubtil                  16264   2019-10-21                -41.82               -116.16
            3791   2017-12-30               7294                 774   Farid                  Yaghoubtil                  16268   2019-10-01                42.096                116.92
            3791   2017-12-30               7294                 774   Farid                  Yaghoubtil                  16271   2019-10-01                42.708                118.64
            3791   2017-12-30               7294                 774   Farid                  Yaghoubtil                  16270   2019-10-01                 41.82                116.16
            3791   2017-12-30               7294                 774   Farid                  Yaghoubtil                  16269   2019-10-01                44.292                123.04
            3791   2017-12-30               7294                 774   Farid                  Yaghoubtil                  16266   2020-02-04                 41.82                116.16
            3792   2019-09-22               7296                 779   Arash                  Khorsandi                   16599   2019-11-04                 41.82                116.16
            3793   2019-09-24               7298                 777   Hamed                  Yazdanpanah                 24681   2020-09-03                 18.56                 51.57
            3793   2019-09-24               7298                 777   Hamed                  Yazdanpanah                 28350   2021-01-07                 13.68                    38
            3793   2019-09-24               7298                 777   Hamed                  Yazdanpanah                 24413   2020-08-05                18.564                 51.57
            3793   2019-09-24               7298                 777   Hamed                  Yazdanpanah                 15526   2019-11-04                38.688                107.45
            3793   2019-09-24               7298                 777   Hamed                  Yazdanpanah                 18978   2020-06-01                18.564                 51.57
            3793   2019-09-24               7298                 777   Hamed                  Yazdanpanah                 27014   2020-11-10                18.564                 51.57
            3793   2019-09-24               7298                 777   Hamed                  Yazdanpanah                 15524   2019-11-04                41.784                116.08
            3793   2019-09-24               7298                 777   Hamed                  Yazdanpanah                 15522   2020-02-04                18.564                 51.57
            3793   2019-09-24               7298                 777   Hamed                  Yazdanpanah                 15518   2019-11-04                 37.44                104.01
            3793   2019-09-24               7298                 777   Hamed                  Yazdanpanah                 22739   2020-07-02                18.564                 51.57
            3793   2019-09-24               7298                 777   Hamed                  Yazdanpanah                 29239   2021-03-08                 56.43                  171
            3793   2019-09-24               7298                 777   Hamed                  Yazdanpanah                 25070   2020-10-05                18.564                 51.57
            3793   2019-09-24               7298                 777   Hamed                  Yazdanpanah                 15525   2019-11-04                41.916                116.44
            3793   2019-09-24               7298                 777   Hamed                  Yazdanpanah                 15520   2020-01-03                38.688                107.45
            3793   2019-09-24               7298                 777   Hamed                  Yazdanpanah                 28351   2021-01-07                 61.56                  171
            3794   2019-09-28               7300                 778   Omid                   Khorshidi                   15374   2019-11-04                42.324                117.56
            3794   2019-09-28               7300                 778   Omid                   Khorshidi                   25239   2020-10-05                27.732                 77.03
            3794   2019-09-28               7300                 778   Omid                   Khorshidi                   15378   2019-11-04                41.472                 115.2
            3794   2019-09-28               7300                 778   Omid                   Khorshidi                   15376   2020-02-04                45.384                126.08
            3794   2019-09-28               7300                 778   Omid                   Khorshidi                   15377   2019-11-04                43.116                119.76
            3795   2019-09-26               7302                 777   Hamed                  Yazdanpanah                 19787   2020-06-01                46.104                128.07
            3795   2019-09-26               7302                 777   Hamed                  Yazdanpanah                 17756   2020-04-03                 94.38                262.18
            3795   2019-09-26               7302                 777   Hamed                  Yazdanpanah                 19788   2020-06-01                 94.38                262.18
            3795   2019-09-26               7302                 777   Hamed                  Yazdanpanah                 16549   2019-11-04                34.344                 95.41
            3795   2019-09-26               7302                 777   Hamed                  Yazdanpanah                 16551   2019-11-04                 41.46                115.16
            3795   2019-09-26               7302                 777   Hamed                  Yazdanpanah                 18065   2020-05-05                 84.72                235.34
            3795   2019-09-26               7302                 777   Hamed                  Yazdanpanah                 16547   2019-11-04                33.732                 93.69
            3795   2019-09-26               7302                 777   Hamed                  Yazdanpanah                 17995   2020-05-05                100.56                279.34
            3797   2016-10-15               7306                 774   Farid                  Yaghoubtil                  16456   2019-12-03               123.264                 342.4
            3797   2016-10-15               7306                 774   Farid                  Yaghoubtil                  16454   2019-11-04               123.264                 342.4
            3797   2016-10-15               7306                 774   Farid                  Yaghoubtil                  16459   2019-08-02                43.764                121.56
            3797   2016-10-15               7306                 774   Farid                  Yaghoubtil                  16458   2019-08-02                45.024                125.08
            3798   2017-12-30               7308                 774   Farid                  Yaghoubtil                  27016   2020-11-10                57.456                 159.6
            3798   2017-12-30               7308                 774   Farid                  Yaghoubtil                  27015   2020-11-10                38.304                 106.4
            3798   2017-12-30               7308                 774   Farid                  Yaghoubtil                  27485   2020-11-10                45.144                 125.4
            3798   2017-12-30               7308                 774   Farid                  Yaghoubtil                  16604   2019-11-04                44.292                123.04
            3798   2017-12-30               7308                 774   Farid                  Yaghoubtil                  16606   2019-10-01                44.292                123.04
            3799   2018-09-12               7310                1042   Charlie                Jackson                     16497   2019-12-03                53.592                148.86
            3799   2018-09-12               7310                1042   Charlie                Jackson                     25318   2020-10-05                39.984                111.07
            3799   2018-09-12               7310                1042   Charlie                Jackson                     16496   2019-12-03                    54                150.01
            3799   2018-09-12               7310                1042   Charlie                Jackson                     26803   2020-11-10                53.592                148.86
            3799   2018-09-12               7310                1042   Charlie                Jackson                     18130   2020-05-05                53.592                148.86
            3799   2018-09-12               7310                1042   Charlie                Jackson                     16499   2019-11-04                  86.7                240.84
            3799   2018-09-12               7310                1042   Charlie                Jackson                     16500   2019-11-04                60.336                 167.6
            3799   2018-09-12               7310                1042   Charlie                Jackson                     23829   2020-07-02                71.784                199.41
            3799   2018-09-12               7310                1042   Charlie                Jackson                     19792   2020-06-01                53.592                148.86
            3799   2018-09-12               7310                1042   Charlie                Jackson                     23830   2020-07-02                53.592                148.86
            3799   2018-09-12               7310                1042   Charlie                Jackson                     24926   2020-09-03                 53.59                148.86
            3801   2019-02-23               7314                 803   D.Hess                 Panah                       16611   2019-10-01                43.368                120.48
            3801   2019-02-23               7314                 803   D.Hess                 Panah                       16613   2019-10-01                 42.54                118.16
            3802   2019-08-19               7316                 811   HagopJ.                Bazerkanian                 16619   2019-10-01                41.952                116.52
            3802   2019-08-19               7316                 811   HagopJ.                Bazerkanian                 16620   2019-10-01                  75.6                  210
            3803   2019-05-19               7318                 794   Nicholas               Lasso                       15570   2019-08-02                 42.42                117.84
            3803   2019-05-19               7318                 794   Nicholas               Lasso                       15571   2019-08-02                 43.56                  121
            3803   2019-05-19               7318                 794   Nicholas               Lasso                       15564   2019-12-03                 43.56                  121
            3803   2019-05-19               7318                 794   Nicholas               Lasso                       15567   2020-01-03                 43.56                  121
            3803   2019-05-19               7318                 794   Nicholas               Lasso                       15573   2019-10-01                 42.42                117.84
            3803   2019-05-19               7318                 794   Nicholas               Lasso                       17299   2020-03-04                 43.56                  121
            3803   2019-05-19               7318                 794   Nicholas               Lasso                       15568   2020-01-03                 42.42                117.84
            3803   2019-05-19               7318                 794   Nicholas               Lasso                       15565   2019-12-03                 42.42                117.84
            3803   2019-05-19               7318                 794   Nicholas               Lasso                       15574   2019-10-01                 43.56                  121
            3803   2019-05-19               7318                 794   Nicholas               Lasso                       17298   2020-03-04                 53.22                147.84
            3804   2019-08-07               7320                 794   Nicholas               Lasso                       16623   2019-10-01                43.656                121.28
            3804   2019-08-07               7320                 794   Nicholas               Lasso                       16622   2019-10-01                44.292                123.04
            3805   2019-09-03               7322                 815   Brittany               Young                       16640   2019-10-01                43.656                121.28
            3805   2019-09-03               7322                 815   Brittany               Young                       16644   2019-10-01                46.056                127.92
            3805   2019-09-03               7322                 815   Brittany               Young                       16641   2019-10-01                 42.42                117.84
            3805   2019-09-03               7322                 815   Brittany               Young                       16643   2019-10-01                 42.06                116.84
            3807   2018-11-24               7326                 811   HagopJ.                Bazerkanian                 16797   2019-10-01               112.824                 313.4
            3807   2018-11-24               7326                 811   HagopJ.                Bazerkanian                 16795   2019-10-01                47.184                131.08
            3807   2018-11-24               7326                 811   HagopJ.                Bazerkanian                 16796   2019-10-01                77.616                 215.6
            3808   2018-09-02               7328                 777   Hamed                  Yazdanpanah                 29577   2021-04-02                52.536                145.92
            3808   2018-09-02               7328                 777   Hamed                  Yazdanpanah                 29578   2021-04-02                35.556                 98.76
            3808   2018-09-02               7328                 777   Hamed                  Yazdanpanah                 29579   2021-04-02                31.176                  86.6
            3808   2018-09-02               7328                 777   Hamed                  Yazdanpanah                 16799   2019-10-01                42.828                118.96
            3812   2019-05-10               7336                 809   Mauro                  Fiore Jr                    16655   2019-07-03                 42.06                116.84
            3812   2019-05-10               7336                 809   Mauro                  Fiore Jr                    16654   2019-07-03                42.996                119.44




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                                                                                                                                                            8,185 $      26,723,966.62
PatientID          IncidentDate   ClaimId          AttorneyID          AttorneyFirstName      AttorneyLastName   BillId           PaidDate      BillCost          BillGFB
            3812   2019-05-10               7336                 809   Mauro                  Fiore Jr                    16653   2019-07-03                42.168               117.12
            3814   2019-07-03               7340                 794   Nicholas               Lasso                       15612   2020-02-04                51.984                144.4
            3814   2019-07-03               7340                 794   Nicholas               Lasso                       15616   2019-10-01                51.984                144.4
            3814   2019-07-03               7340                 794   Nicholas               Lasso                       15615   2019-10-01                59.832                166.2
            3814   2019-07-03               7340                 794   Nicholas               Lasso                       15613   2019-12-03                51.984                144.4
            3814   2019-07-03               7340                 794   Nicholas               Lasso                       15610   2019-12-03                59.832                166.2
            3816   2019-08-19               7344                 779   Arash                  Khorsandi                   16648   2019-10-01                50.592               140.52
            3816   2019-08-19               7344                 779   Arash                  Khorsandi                   16649   2019-10-01                43.392               120.52
            3817   2016-12-22               7346                 819   Lee                    Arter                       16651   2019-07-03                395.64                 1099
            3818   2019-04-03               7348                 769   Kevin                  Danesh                      16658   2019-07-03                43.476               120.76
            3818   2019-04-03               7348                 769   Kevin                  Danesh                      18185   2020-05-05                65.508               181.96
            3818   2019-04-03               7348                 769   Kevin                  Danesh                      16657   2019-07-03                42.432               117.88
            3818   2019-04-03               7348                 769   Kevin                  Danesh                      18186   2020-05-05                76.296               211.95
            3818   2019-04-03               7348                 769   Kevin                  Danesh                      18187   2020-05-05                 55.26                153.5
            3819   2019-04-15               7350                 794   Nicholas               Lasso                       16665   2019-04-30                39.576               109.94
            3819   2019-04-15               7350                 794   Nicholas               Lasso                       16664   2019-04-30                 41.22                114.5
            3822   2019-05-31               7356                 784   DavidF.                Makkabi                     16692   2019-09-03                42.252               117.36
            3822   2019-05-31               7356                 784   DavidF.                Makkabi                     16691   2019-09-03                  49.2               136.68
            3823   2019-05-29               7358                 794   Nicholas               Lasso                       16694   2019-09-03                42.348               117.64
            3825   2019-04-01               7362                 795   Richard                Harris                      16700   2019-07-03                52.908               146.96
            3825   2019-04-01               7362                 795   Richard                Harris                      16699   2019-07-03                59.832                166.2
            3827   2019-06-04               7366                 794   Nicholas               Lasso                       18000   2020-05-05                47.244               131.23
            3827   2019-06-04               7366                 794   Nicholas               Lasso                       16706   2019-07-03                58.116               161.44
            3827   2019-06-04               7366                 794   Nicholas               Lasso                       17999   2020-05-05                 86.82               241.18
            3827   2019-06-04               7366                 794   Nicholas               Lasso                       16704   2019-07-03                 41.76                  116
            3827   2019-06-04               7366                 794   Nicholas               Lasso                       16705   2019-07-03                41.604               115.56
            3828   2019-03-18               7368                 789   Alberto                Castro                      16708   2019-04-30                40.212                111.7
            3828   2019-03-18               7368                 789   Alberto                Castro                      16712   2019-04-30                39.936               110.92
            3828   2019-03-18               7368                 789   Alberto                Castro                      16710   2019-11-04                37.752               104.87
            3828   2019-03-18               7368                 789   Alberto                Castro                      16711   2019-04-30                 99.96               277.68
            3829   2019-07-16               7370                 794   Nicholas               Lasso                       16714   2019-11-04                 44.88               124.65
            3829   2019-07-16               7370                 794   Nicholas               Lasso                       16715   2019-11-04                43.632               121.21
            3830   2019-08-03               7372                 809   Mauro                  Fiore Jr                    16490   2019-11-04                54.252                150.7
            3830   2019-08-03               7372                 809   Mauro                  Fiore Jr                    16828   2020-02-04                44.136               122.59
            3830   2019-08-03               7372                 809   Mauro                  Fiore Jr                    16485   2019-12-03                53.232               147.85
            3830   2019-08-03               7372                 809   Mauro                  Fiore Jr                    16491   2019-11-04                 44.88               124.65
            3830   2019-08-03               7372                 809   Mauro                  Fiore Jr                    16488   2020-02-04                  46.5               129.16
            3830   2019-08-03               7372                 809   Mauro                  Fiore Jr                    16486   2019-12-03                37.284               103.58
            3830   2019-08-03               7372                 809   Mauro                  Fiore Jr                    16492   2019-12-03                74.928               208.15
            3830   2019-08-03               7372                 809   Mauro                  Fiore Jr                    22738   2020-07-02                38.328               106.47
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   19554   2020-06-01                 48.12               133.68
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   15316   2020-02-04                24.564                68.22
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   18064   2020-05-05                 48.12               133.68
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   15315   2020-02-04                  44.1               122.51
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   15317   2020-01-03                31.716                 88.1
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   17994   2020-05-05                82.836               230.11
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   15319   2019-12-03                34.344                95.41
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   17458   2020-04-03                82.836               230.11
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   17613   2020-04-03                82.836               230.11
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   15321   2019-11-04                 48.12               133.68
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   15325   2020-01-03                29.244                81.24
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   15323   2019-12-03                31.188                86.62
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   15312   2020-01-03                28.572                79.36
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   15310   2020-02-04                43.968               122.13
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   17755   2020-04-03                82.836               230.11
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   15313   2020-02-04                44.832               124.53
            3831   2019-09-30               7374                 779   Arash                  Khorsandi                   15326   2019-12-03                 22.32                   62
            3832   2019-10-08               7376                 817   Robin                  Saghian                     16717   2019-11-04                33.108                91.97
            3833   2019-10-09               7378                 779   Arash                  Khorsandi                   15445   2019-12-03                29.616                82.25
            3833   2019-10-09               7378                 779   Arash                  Khorsandi                   15450   2019-11-04                221.88               616.32
            3833   2019-10-09               7378                 779   Arash                  Khorsandi                   15455   2019-12-03               -221.88              -616.32
            3833   2019-10-09               7378                 779   Arash                  Khorsandi                   15443   2020-01-03                46.272               128.52
            3833   2019-10-09               7378                 779   Arash                  Khorsandi                   15448   2020-02-04                45.132               125.36
            3833   2019-10-09               7378                 779   Arash                  Khorsandi                   15453   2019-12-03                46.272               128.52
            3833   2019-10-09               7378                 779   Arash                  Khorsandi                   15447   2020-02-04                43.884                121.9
            3833   2019-10-09               7378                 779   Arash                  Khorsandi                   15451   2019-11-04                46.272               128.52
            3834   2019-05-08               7380                 794   Nicholas               Lasso                       16719   2019-11-04                43.476               120.78
            3834   2019-05-08               7380                 794   Nicholas               Lasso                       16720   2019-11-04                53.544               148.75
            3834   2019-05-08               7380                 794   Nicholas               Lasso                       16721   2019-11-04                45.804               127.23
            3836   2019-04-20               7384                1046   Kristina               Weller                      16522   2019-07-03                 43.32               120.32
            3837   2019-06-03               7386                1050   Johnathan              Leavitt                     16450   2019-08-02                42.048                116.8
            3837   2019-06-03               7386                1050   Johnathan              Leavitt                     16452   2019-07-03                42.144               117.08
            3839   2019-04-09               7390                 794   Nicholas               Lasso                       16435   2019-07-03                41.772               116.04
            3839   2019-04-09               7390                 794   Nicholas               Lasso                       16438   2019-04-30                39.576               109.94
            3839   2019-04-09               7390                 794   Nicholas               Lasso                       16437   2019-04-30                38.088               105.81
            3841   2019-04-05               7394                 794   Nicholas               Lasso                       16726   2019-04-30                45.648               126.79
            3841   2019-04-05               7394                 794   Nicholas               Lasso                       16727   2019-04-30                39.864               110.72
            3843   2019-09-28               7398                 785   Brian                  Nettles                     16531   2019-12-03                43.476               120.78
            3843   2019-09-28               7398                 785   Brian                  Nettles                     16535   2019-11-04                43.476               120.78
            3843   2019-09-28               7398                 785   Brian                  Nettles                     16532   2019-12-03                 53.46                148.5
            3843   2019-09-28               7398                 785   Brian                  Nettles                     16534   2019-11-04                 53.46                148.5
            3844   2019-07-10               7400                 811   HagopJ.                Bazerkanian                 29851   2021-05-03                75.888               210.79
            3844   2019-07-10               7400                 811   HagopJ.                Bazerkanian                 15640   2020-02-04                 47.82               132.82
            3844   2019-07-10               7400                 811   HagopJ.                Bazerkanian                 15644   2019-11-04                 47.82               132.82
            3844   2019-07-10               7400                 811   HagopJ.                Bazerkanian                 17024   2020-03-04                 47.82               132.82
            3844   2019-07-10               7400                 811   HagopJ.                Bazerkanian                 29410   2021-04-02                75.888               210.79
            3844   2019-07-10               7400                 811   HagopJ.                Bazerkanian                 29777   2021-04-02                28.272                78.55
            3844   2019-07-10               7400                 811   HagopJ.                Bazerkanian                 15642   2019-12-03                 47.82               132.82
            3844   2019-07-10               7400                 811   HagopJ.                Bazerkanian                 17098   2020-03-04                44.556               123.77
            3845   2019-06-13               7402                 794   Nicholas               Lasso                       15386   2020-01-03                28.092                78.04
            3845   2019-06-13               7402                 794   Nicholas               Lasso                       15390   2019-12-03                49.212               136.69




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                                                                               Tecumseh Owned Receivables




                                                                                                                                                        8,185 $       26,723,966.62
PatientID          IncidentDate   ClaimId          AttorneyID         AttorneyFirstName   AttorneyLastName   BillId           PaidDate      BillCost           BillGFB
            3845   2019-06-13               7402                794   Nicholas            Lasso                       15392   2019-08-02                 41.88                116.32
            3845   2019-06-13               7402                794   Nicholas            Lasso                       16910   2020-03-04                 41.88                116.32
            3845   2019-06-13               7402                794   Nicholas            Lasso                       17461   2020-04-03                  44.4                123.34
            3845   2019-06-13               7402                794   Nicholas            Lasso                       15394   2019-11-04                49.212                136.69
            3845   2019-06-13               7402                794   Nicholas            Lasso                       15388   2020-02-04                45.468                126.31
            3846   2019-03-01               7404                810   Matthew             Hoffman                     28611   2021-02-03                44.076                122.44
            3846   2019-03-01               7404                810   Matthew             Hoffman                     29582   2021-04-02                38.136                105.94
            3846   2019-03-01               7404                810   Matthew             Hoffman                     17027   2020-03-04                44.076                122.44
            3846   2019-03-01               7404                810   Matthew             Hoffman                     18981   2020-06-01                39.612                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     27165   2020-11-10                 72.12                200.34
            3846   2019-03-01               7404                810   Matthew             Hoffman                     28236   2021-01-07                44.076                122.44
            3846   2019-03-01               7404                810   Matthew             Hoffman                     28669   2021-02-03                75.336                209.27
            3846   2019-03-01               7404                810   Matthew             Hoffman                     29584   2021-04-02                75.336                209.27
            3846   2019-03-01               7404                810   Matthew             Hoffman                     18070   2020-05-05                44.076                122.44
            3846   2019-03-01               7404                810   Matthew             Hoffman                     21271   2020-07-02                44.076                122.44
            3846   2019-03-01               7404                810   Matthew             Hoffman                     25435   2020-10-05                75.336                209.27
            3846   2019-03-01               7404                810   Matthew             Hoffman                     29122   2021-03-08                69.058                209.27
            3846   2019-03-01               7404                810   Matthew             Hoffman                     29412   2021-04-02                39.612                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     17101   2020-03-04                39.612                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     17375   2020-04-03                44.076                122.44
            3846   2019-03-01               7404                810   Matthew             Hoffman                     24419   2020-08-05                39.612                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     25073   2020-10-05                39.612                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     27164   2020-11-10                75.336                209.27
            3846   2019-03-01               7404                810   Matthew             Hoffman                     28237   2021-01-07                28.332                  78.7
            3846   2019-03-01               7404                810   Matthew             Hoffman                     29778   2021-04-02                 28.08                 78.01
            3846   2019-03-01               7404                810   Matthew             Hoffman                     26804   2020-11-10                 32.46                 90.17
            3846   2019-03-01               7404                810   Matthew             Hoffman                     28612   2021-02-03                  34.2                    95
            3846   2019-03-01               7404                810   Matthew             Hoffman                     29411   2021-04-02                44.076                122.44
            3846   2019-03-01               7404                810   Matthew             Hoffman                     18980   2020-06-01                44.076                122.44
            3846   2019-03-01               7404                810   Matthew             Hoffman                     25072   2020-10-05                55.644                154.58
            3846   2019-03-01               7404                810   Matthew             Hoffman                     27804   2020-12-02                 32.46                 90.17
            3846   2019-03-01               7404                810   Matthew             Hoffman                     29046   2021-03-08                70.224                 212.8
            3846   2019-03-01               7404                810   Matthew             Hoffman                     29583   2021-04-02                73.872                 205.2
            3846   2019-03-01               7404                810   Matthew             Hoffman                     15584   2020-02-04                 20.22                 56.17
            3846   2019-03-01               7404                810   Matthew             Hoffman                     17464   2020-04-03                39.612                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     21272   2020-07-02                39.612                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     24595   2020-08-05                 44.08                122.44
            3846   2019-03-01               7404                810   Matthew             Hoffman                     28352   2021-01-07                75.336                209.27
            3846   2019-03-01               7404                810   Matthew             Hoffman                     28613   2021-02-03                38.304                 106.4
            3846   2019-03-01               7404                810   Matthew             Hoffman                     24596   2020-08-05                 32.46                 90.17
            3846   2019-03-01               7404                810   Matthew             Hoffman                     29120   2021-03-08                36.311                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     29413   2021-04-02                44.832                124.53
            3846   2019-03-01               7404                810   Matthew             Hoffman                     15588   2019-11-04                39.612                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     15589   2019-11-04               105.996                294.44
            3846   2019-03-01               7404                810   Matthew             Hoffman                     15590   2020-01-03                18.864                  52.4
            3846   2019-03-01               7404                810   Matthew             Hoffman                     25074   2020-10-05                 32.46                 90.17
            3846   2019-03-01               7404                810   Matthew             Hoffman                     28353   2021-01-07                 32.46                 90.17
            3846   2019-03-01               7404                810   Matthew             Hoffman                     23962   2020-08-05                44.076                122.44
            3846   2019-03-01               7404                810   Matthew             Hoffman                     25434   2020-10-05                 72.12                200.34
            3846   2019-03-01               7404                810   Matthew             Hoffman                     27655   2020-12-02                44.076                122.44
            3846   2019-03-01               7404                810   Matthew             Hoffman                     29581   2021-04-02                76.608                 212.8
            3846   2019-03-01               7404                810   Matthew             Hoffman                     25071   2020-10-05                44.076                122.44
            3846   2019-03-01               7404                810   Matthew             Hoffman                     28614   2021-02-03                39.612                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     29121   2021-03-08                41.096                124.53
            3846   2019-03-01               7404                810   Matthew             Hoffman                     15586   2020-01-03                28.332                  78.7
            3846   2019-03-01               7404                810   Matthew             Hoffman                     24597   2020-08-05                 55.64                154.58
            3846   2019-03-01               7404                810   Matthew             Hoffman                     27162   2020-11-10                39.612                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     29119   2021-03-08                40.403                122.44
            3846   2019-03-01               7404                810   Matthew             Hoffman                     29123   2021-03-08                67.716                 205.2
            3846   2019-03-01               7404                810   Matthew             Hoffman                     15582   2020-01-03                39.612                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     19558   2020-06-01                28.332                  78.7
            3846   2019-03-01               7404                810   Matthew             Hoffman                     27163   2020-11-10                44.076                122.44
            3846   2019-03-01               7404                810   Matthew             Hoffman                     27900   2020-12-02               101.232                 281.2
            3846   2019-03-01               7404                810   Matthew             Hoffman                     28235   2021-01-07                39.612                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     28354   2021-01-07                73.872                 205.2
            3846   2019-03-01               7404                810   Matthew             Hoffman                     15585   2020-02-04                39.612                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     27805   2020-12-02                75.336                209.27
            3846   2019-03-01               7404                810   Matthew             Hoffman                     24685   2020-09-03                 39.61                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     27656   2020-12-02                39.612                110.03
            3846   2019-03-01               7404                810   Matthew             Hoffman                     28668   2021-02-03                73.872                 205.2
            3846   2019-03-01               7404                810   Matthew             Hoffman                     29585   2021-04-02                27.624                 76.72
            3847   2019-09-16               7406                617   Christopher         Henderson                   15410   2020-02-04                38.832                107.88
            3847   2019-09-16               7406                617   Christopher         Henderson                   15413   2019-12-03                38.832                107.88
            3847   2019-09-16               7406                617   Christopher         Henderson                   15412   2019-11-04                39.612                110.03
            3847   2019-09-16               7406                617   Christopher         Henderson                   15408   2019-12-03                40.536                112.61
            3849   2019-04-27               7410                791   Jeff                Scarborough                 16342   2019-06-17               -42.144               -117.08
            3849   2019-04-27               7410                791   Jeff                Scarborough                 16355   2019-06-17               -43.416                -120.6
            3849   2019-04-27               7410                791   Jeff                Scarborough                 16357   0001-01-01                42.144                117.08
            3849   2019-04-27               7410                791   Jeff                Scarborough                 16358   0001-01-01                43.416                 120.6
            3849   2019-04-27               7410                791   Jeff                Scarborough                 16338   2019-09-03                42.072                116.88
            3849   2019-04-27               7410                791   Jeff                Scarborough                 16345   2020-02-04                45.384                126.08
            3849   2019-04-27               7410                791   Jeff                Scarborough                 16353   2019-06-03                 38.28                106.35
            3849   2019-04-27               7410                791   Jeff                Scarborough                 17366   2020-04-03                52.356                145.43
            3849   2019-04-27               7410                791   Jeff                Scarborough                 16348   2019-12-03                 36.36                  101
            3849   2019-04-27               7410                791   Jeff                Scarborough                 16354   2019-06-03                41.844                116.24
            3849   2019-04-27               7410                791   Jeff                Scarborough                 17005   2020-03-04                62.304                173.08
            3849   2019-04-27               7410                791   Jeff                Scarborough                 16340   2019-08-02                42.144                117.08
            3849   2019-04-27               7410                791   Jeff                Scarborough                 16907   2020-03-04                20.964                 58.24
            3849   2019-04-27               7410                791   Jeff                Scarborough                 16343   2019-09-03                 41.52                115.32
            3849   2019-04-27               7410                791   Jeff                Scarborough                 16346   2020-02-04                44.304                123.08
            3849   2019-04-27               7410
